Case 3:23-cv-03223-AMO Document 98-6 Filed 02/08/24 Page 1 of 70




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       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               1 of 69
                                                                    2 of 70




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



 THE NEW YORK TIMES COMPANY
                        Plaintiff,                            Civil Action No. ________

                           v.
                                                              COMPLAINT
 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,                          JURY TRIAL DEMANDED
 OAI CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

                        Defendants.

       Plaintiff The New York Times Company (“The Times”), by its attorneys Susman Godfrey

LLP and Rothwell, Figg, Ernst & Manbeck, P.C., for its complaint against Defendants Microsoft

Corporation (“Microsoft”) and OpenAI, Inc., OpenAI LP, OpenAI GP LLC, OpenAI LLC, OpenAI

OpCo LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI Holdings, LLC, (collectively

“OpenAI” and, with Microsoft, “Defendants”), alleges as follows:

                                I.    NATURE OF THE ACTION

       1.      Independent journalism is vital to our democracy. It is also increasingly rare and

valuable. For more than 170 years, The Times has given the world deeply reported, expert,

independent journalism. Times journalists go where the story is, often at great risk and cost, to

inform the public about important and pressing issues. They bear witness to conflict and disasters,

provide accountability for the use of power, and illuminate truths that would otherwise go unseen.

Their essential work is made possible through the efforts of a large and expensive organization

that provides legal, security, and operational support, as well as editors who ensure their journalism

meets the highest standards of accuracy and fairness. This work has always been important. But


                                                  1
        CaseCase
             3:23-cv-03223-AMO
                 1:23-cv-11195 Document
                                Document198-6
                                          FiledFiled
                                                12/27/23
                                                     02/08/24
                                                           PagePage
                                                                2 of 69
                                                                     3 of 70




within a damaged information ecosystem that is awash in unreliable content, The Times’s

journalism provides a service that has grown even more valuable to the public by supplying

trustworthy information, news analysis, and commentary.

       2.      Defendants’ unlawful use of The Times’s work to create artificial intelligence

products that compete with it threatens The Times’s ability to provide that service. Defendants’

generative artificial intelligence (“GenAI”) tools rely on large-language models (“LLMs”) that

were built by copying and using millions of The Times’s copyrighted news articles, in-depth

investigations, opinion pieces, reviews, how-to guides, and more. While Defendants engaged in

widescale copying from many sources, they gave Times content particular emphasis when building

their LLMs—revealing a preference that recognizes the value of those works. Through Microsoft’s

Bing Chat (recently rebranded as “Copilot”) and OpenAI’s ChatGPT, Defendants seek to free-ride

on The Times’s massive investment in its journalism by using it to build substitutive products

without permission or payment.

       3.      The Constitution and the Copyright Act recognize the critical importance of giving

creators exclusive rights over their works. Since our nation’s founding, strong copyright protection

has empowered those who gather and report news to secure the fruits of their labor and investment.

Copyright law protects The Times’s expressive, original journalism, including, but not limited to,

its millions of articles that have registered copyrights.

       4.      Defendants have refused to recognize this protection. Powered by LLMs containing

copies of Times content, Defendants’ GenAI tools can generate output that recites Times content

verbatim, closely summarizes it, and mimics its expressive style, as demonstrated by scores of

examples. See Exhibit J. These tools also wrongly attribute false information to The Times.




                                                   2
        CaseCase
             3:23-cv-03223-AMO
                 1:23-cv-11195 Document
                                Document198-6
                                          FiledFiled
                                                12/27/23
                                                     02/08/24
                                                           PagePage
                                                                3 of 69
                                                                     4 of 70




        5.      Defendants also use Microsoft’s Bing search index, which copies and categorizes

The Times’s online content, to generate responses that contain verbatim excerpts and detailed

summaries of Times articles that are significantly longer and more detailed than those returned by

traditional search engines. By providing Times content without The Times’s permission or

authorization, Defendants’ tools undermine and damage The Times’s relationship with its readers

and deprive The Times of subscription, licensing, advertising, and affiliate revenue.

        6.      Using the valuable intellectual property of others in these ways without paying for

it has been extremely lucrative for Defendants. Microsoft’s deployment of Times-trained LLMs

throughout its product line helped boost its market capitalization by a trillion dollars in the past

year alone. And OpenAI’s release of ChatGPT has driven its valuation to as high as $90 billion.

Defendants’ GenAI business interests are deeply intertwined, with Microsoft recently highlighting

that its use of OpenAI’s “best-in-class frontier models” has generated customers—including

“leading AI startups”—for Microsoft’s Azure AI product.1

        7.      The Times objected after it discovered that Defendants were using Times content

without permission to develop their models and tools. For months, The Times has attempted to

reach a negotiated agreement with Defendants, in accordance with its history of working

productively with large technology platforms to permit the use of its content in new digital

products (including the news products developed by Google, Meta, and Apple). The Times’s goal

during these negotiations was to ensure it received fair value for the use of its content, facilitate

the continuation of a healthy news ecosystem, and help develop GenAI technology in a responsible

way that benefits society and supports a well-informed public.




        1
           Microsoft Fiscal Year 2024 First Quarter Earnings Conference Call, MICROSOFT INVESTOR RELATIONS
(Oct. 24, 2023), https://www.microsoft.com/en-us/Investor/events/FY-2024/earnings-fy-2024-q1.aspx.
                                                     3
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               4 of 69
                                                                    5 of 70




       8.      These negotiations have not led to a resolution. Publicly, Defendants insist that their

conduct is protected as “fair use” because their unlicensed use of copyrighted content to train

GenAI models serves a new “transformative” purpose. But there is nothing “transformative” about

using The Times’s content without payment to create products that substitute for The Times and

steal audiences away from it. Because the outputs of Defendants’ GenAI models compete with and

closely mimic the inputs used to train them, copying Times works for that purpose is not fair use.

       9.      The law does not permit the kind of systematic and competitive infringement that

Defendants have committed. This action seeks to hold them responsible for the billions of dollars

in statutory and actual damages that they owe for the unlawful copying and use of The Times’s

uniquely valuable works.

                             II.    JURISDICTION AND VENUE

       10.     The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a)

because this action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et seq.

       11.     Jurisdiction over Microsoft and OpenAI is proper because they have purposely

availed themselves of the privilege of conducting business in New York. A substantial portion of

Microsoft and OpenAI’s widespread infringement and other unlawful conduct alleged herein

occurred in New York, including the distribution and sales of Microsoft and OpenAI’s Generative

Pre-training Transformer (“GPT”)-based products like ChatGPT, ChatGPT Enterprise, Bing Chat,

Azure OpenAI Service, Microsoft 365 Copilot, and related application programming interface

(API) tools within New York to New York residents. Furthermore, both Microsoft and the OpenAI

Defendants maintain offices and employ personnel in New York who, upon information and belief,

were involved in the creation, maintenance, or monetization of Microsoft and OpenAI’s

widespread infringement and other unlawful conduct alleged herein.


                                                 4
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               5 of 69
                                                                    6 of 70




       12.     Because The Times’s principal place of business and headquarters is in this District,

the injuries alleged herein from Microsoft and OpenAI’s widespread infringement and other

unlawful conduct foreseeably occurred in this District.

       13.     Venue is proper under 28 U.S.C. § 1400(a) because Defendants or their agents

reside or may be found in this District, through the infringing and unlawful activities—as well as

Defendants’ sales and monetization of such activity—that occurred in this District. Venue is also

proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to The

Times’s claims occurred in this District, including the marketing, sales, and licensing of

Defendants’ GenAI products built on the infringement of The Times’s intellectual property within

this District. Upon information and belief, OpenAI has sold subscriptions for ChatGPT Plus to

New York residents, and both Microsoft and OpenAI enjoy a substantial base of monthly active

users of Bing Chat and ChatGPT in New York. OpenAI has licensed its GPT models to New York

residents and companies headquartered in New York. For example, this year, OpenAI struck deals

to license its GPT models to the Associated Press (AP) and Morgan Stanley, both companies

headquartered in New York.

                                     III.    THE PARTIES

       14.     Plaintiff The New York Times Company is a New York corporation with its

headquarters and principal place of business in New York. The Times publishes digital and print

products, including its core news product, The New York Times, which is available on its mobile

applications, on its website (NYTimes.com), and as a printed newspaper, and associated content

such as its podcasts. The Times also publishes other interest-specific publications, including The

Athletic (sports media), Cooking (recipes and other cooking-related content), Games (puzzles and




                                                 5
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               6 of 69
                                                                    7 of 70




games), and Wirecutter (shopping recommendations). The Times owns over 3 million registered,

copyrighted works, including those set forth in Exhibits A–I, K (“Times Works”).

       15.     Microsoft Corporation is a Washington corporation with a principal place of

business and headquarters in Redmond, Washington. Microsoft has invested at least $13 billion in

OpenAI Global LLC in exchange for which Microsoft will receive 75% of that company’s profits

until its investment is repaid, after which Microsoft will own a 49% stake in that company.

       16.     Microsoft has described its relationship with the OpenAI Defendants as a

“partnership.” This partnership has included contributing and operating the cloud computing

services used to copy Times Works and train the OpenAI Defendants’ GenAI models. It has also

included, upon information and belief, substantial technical collaboration on the creation of those

models. Microsoft possesses copies of, or obtains preferential access to, the OpenAI Defendants’

latest GenAI models that have been trained on and embody unauthorized copies of the Times

Works. Microsoft uses these models to provide infringing content and, at times, misinformation to

users of its products and online services. During a quarterly earnings call in October 2023,

Microsoft noted that “more than 18,000 organizations now use Azure OpenAI Service, including

new-to-Azure customers.”

       17.     The OpenAI Defendants consist of a web of interrelated Delaware entities.

       18.     Defendant OpenAI Inc. is a Delaware nonprofit corporation with a principal place

of business located at 3180 18th Street, San Francisco, California. OpenAI Inc. was formed in

December 2015. OpenAI Inc. indirectly owns and controls all other OpenAI entities and has been

directly involved in perpetrating the mass infringement and other unlawful conduct alleged here.

       19.     Defendant OpenAI LP is a Delaware limited partnership with its principal place of

business located at 3180 18th Street, San Francisco, California. OpenAI LP was formed in 2019.


                                                6
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               7 of 69
                                                                    8 of 70




OpenAI LP is a wholly owned subsidiary of OpenAI Inc. that is operated for profit and is controlled

by OpenAI Inc. OpenAI LP was directly involved in perpetrating the mass infringement and

commercial exploitation of Times Works alleged here.

       20.     Defendant OpenAI GP, LLC is a Delaware limited liability company with a

principal place of business located at 3180 18th Street, San Francisco, California. OpenAI GP,

LLC is the general partner of OpenAI LP, and it manages and operates the day-to-day business and

affairs of OpenAI LP. OpenAI GP LLC is wholly owned and controlled by OpenAI Inc. OpenAI,

Inc. uses OpenAI GP LLC to control OpenAI LP and OpenAI Global, LLC. OpenAI GP, LLC was

involved in perpetrating the mass infringement and unlawful exploitation of Times Works alleged

here through its direction and control of OpenAI LP and OpenAI Global LLC.

       21.     Defendant OpenAI, LLC is a Delaware limited liability company with a principal

place of business located at 3180 18th Street, San Francisco, California. OpenAI, LLC was formed

in September 2020. OpenAI LLC owns, sells, licenses, and monetizes a number of OpenAI’s

offerings, including ChatGPT, ChatGPT Enterprise, and OpenAI’s API tools, all of which were

built on OpenAI’s mass infringement and unlawful exploitation of Times Works. Upon information

and belief, OpenAI, LLC is owned and controlled by both OpenAI Inc. and Microsoft Corporation,

through OpenAI Global LLC and OpenAI OpCo LLC.

       22.     Defendant OpenAI OpCo LLC is a Delaware limited liability company with a

principal place of business located at 3180 18th Street, San Francisco, California. OpenAI OpCo

LLC is a wholly owned subsidiary of OpenAI Inc. and has facilitated and directed OpenAI’s mass

infringement and unlawful exploitation of Times Works through its management and direction of

OpenAI, LLC.




                                                7
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               8 of 69
                                                                    9 of 70




       23.    Defendant OpenAI Global LLC is a Delaware limited liability company formed in

December 2022. OpenAI Global LLC has a principal place of business located at 3180 18th Street,

San Francisco, California. Microsoft Corporation has a minority stake in OpenAI Global LLC and

OpenAI, Inc. has a majority stake in OpenAI Global LLC, indirectly through OpenAI Holdings

LLC and OAI Corporation, LLC. OpenAI Global LLC was and is involved in unlawful conduct

alleged herein through its ownership, control, and direction of OpenAI LLC.

       24.    Defendant OAI Corporation, LLC is a Delaware limited liability company with a

principal place of business located at 3180 18th Street, San Francisco, California. OAI

Corporation, LLC’s sole member is OpenAI Holdings, LLC. OAI Corporation, LLC was and is

involved in the unlawful conduct alleged herein through its ownership, control, and direction of

OpenAI Global LLC and OpenAI LLC.

       25.    Defendant OpenAI Holdings, LLC is a Delaware limited liability company, whose

sole members are OpenAI, Inc. and Aestas, LLC, whose sole member, in turn, is Aestas

Management Company, LLC. Aestas Management Company, LLC is a Delaware shell company

formed for the purpose of executing a $495 million capital raise for OpenAI.

                             IV.    FACTUAL ALLEGATIONS

A.     The New York Times and its Mission

       1.     Almost Two Centuries of High-Quality, Original, Independent News

       26.    The New York Times is a trusted source of quality, independent journalism whose

mission is to seek the truth and help people understand the world. Begun as a small, local

newspaper, The Times has evolved to a diversified multi-media company with readers, listeners,

and viewers around the globe. Today, more than 10 million subscribers pay for Times journalism,




                                               8
       CaseCase
           3:23-cv-03223-AMO
                1:23-cv-11195 Document
                              Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          Page
                                                             Page
                                                               9 of 10
                                                                    69 of 70




which includes everything from news to opinion, culture to business, cooking to games, and

shopping recommendations to sports.

       27.     Founded in 1851, The New York Times has a long history of providing the public

with independent journalism of the highest quality. When Adolph Ochs bought the newspaper out

of bankruptcy in 1896, he vowed that The Times would be fiercely independent, dedicated to

journalism of the highest integrity, and devoted to the public welfare. He articulated the vision:

“To give the news impartially, without fear or favor, regardless of any party, sect, or interest

involved.” These words still animate The New York Times today, nearly two centuries later.

       28.     Producing original independent journalism is at the heart of this mission. Times

journalists cover the most important stories across the globe; in a typical year, The Times sends

journalists to report on the ground from more than 160 countries. Together, along with editors,

photographers, audio producers, videographers, graphic designers, data analysts, and more, The

Times’s newsroom produces groundbreaking journalism across every major storytelling format.

       29.     The quality of The Times’s coverage has been widely recognized with many

industry and peer accolades, including 135 Pulitzer Prizes since its first Pulitzer award in 1918

(nearly twice as many as any other organization). The Times’s journalism is also deeply impactful.

Academics, teachers, and scientists have used it to educate and innovate. Lawmakers have cited it

to introduce legislation. Judges have referenced it in rulings. And tens of millions of people rely

on it every day.

       30.     Times journalists are experts in their subject matter and among the most

experienced and talented in the industry. In many cases, their work is enhanced by professional

expertise: lawyers cover the court, doctors cover health care, and veterans cover the military. Many

Times journalists draw on decades of experience. One reporter covering the White House, for


                                                 9
      CaseCase
           3:23-cv-03223-AMO
               1:23-cv-11195 Document
                              Document198-6
                                        FiledFiled
                                              12/27/23
                                                   02/08/24
                                                         PagePage
                                                              10 of11
                                                                    69of 70




example, has reported on five administrations. His colleague, a White House photographer, has

covered seven.

       31.       In addition to journalists who spend considerable time and effort reporting pieces,

The Times employs hundreds of editors to painstakingly review its journalism for accuracy,

independence, and fairness, with at least two editors reviewing each piece prior to publication and

many more reviewing the most important and sensitive pieces. The Times also has among the

largest and most robust Standards teams in the industry, which advises the newsroom daily on

consistency, accuracy, fairness, and clarity in its reporting and maintains stringent ethical

guidelines for journalists and their work. The Times also maintains an internal Stylebook, a

document that is updated over time to guide the tone of its journalism and the prose used. There is

also an ongoing dialogue among journalists and editors to ensure The Times fairly and thoroughly

covers the right stories and presents what it finds in a clear and compelling way. Producing Times

journalism is a creative and deeply human endeavor.

       2.        Groundbreaking, In-Depth Journalism and Breaking News at Great Cost

       32.       To produce world-class journalism, The Times invests an enormous amount of time,

money, expertise, and talent, both in its newsroom and product, technology, and other supporting

teams. Core areas of focus include:

       33.       Investigative Reporting. The Times does deep investigations—which usually take

months and sometimes years to report and produce—into complex and important areas of public

interest. The Times’s reporters routinely uncover stories that would otherwise never come to light.

They have exposed problems, held power to account, and demanded the public’s attention. In

investigating these areas, Times coverage often results in meaningful reforms. These stories are




                                                 10
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               11 of12
                                                                     69of 70




written and edited in the style that is widely associated with The Times, one that readers trust and

seek out.

       34.     Breaking News Reporting. The Times is equally committed to quickly and

accurately reporting breaking news. In an era in which speculation, disinformation, and spin often

drown out the truth when news breaks, The Times fills an important need for trustworthy news

with journalists who have the subject-matter expertise, news judgment, and sources required to

report the facts in a compelling way. This year, The Times has provided detailed, real-time

coverage on breaking news across a range of topics, including the upcoming U.S. elections,

multiple mass shootings including those in Maine and Nashville, wars in Ukraine and the Middle

East, a spate of natural disasters around the globe, and the collapse of major regional banks.

       35.     Beat Reporting: The Times invests significantly in its beat reporting by giving its

beat reporters the time and space to go deep on a single topic. At The Times, these topics vary from

public health to religion to architecture, and from the Pentagon to Hollywood to Wall Street. They

also include The Times’s dozens of national and international bureaus, where correspondents are

steeped in the communities they cover. Because this type of journalism is grounded in the expertise

and deep connections of Times journalists, beat coverage enriches The Times’s reporting.

       36.     Reviews and Analysis. The Times is a trusted source for reviews and analysis of

arts and culture, including food, books, art, film, theater, television, music, fashion, and travel. In

2016, it acquired the product review site Wirecutter, which recommends the best products in

dozens of categories including home goods, technology, health and fitness, and more. Each year,

Wirecutter spends tens of thousands of hours conducting rigorous testing and research to produce

a catalog of reviews that today covers thousands of products.




                                                  11
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               12 of13
                                                                     69of 70




        37.      Commentary and Opinion. The Times publishes opinion articles that contribute

to public debate across the world. Many of these articles come from The Times’s staff of world-

renowned columnists. Additionally, leaders in business, politics, religion, education, and the arts

write guest essays for The Times’s opinion section, giving readers the opportunity to understand a

wide range of experiences, perspectives, and ideas about the most important issues of the day.

        3.       A Commitment to Quality Journalism

        38.      It takes enormous resources to publish, on average, more than 250 original articles

every day. Many of these articles take months—and sometimes longer—to report. That output is

the work of approximately 5,800 full-time equivalent Times employees (as of December 31, 2022),

some 2,600 of whom are directly involved in The Times’s journalism operations.

        39.      Quite often, the most vital news reporting for society is the most resource-intensive.

Some of The Times’s most important journalism requires deploying teams of journalists at great

cost to report on the ground around the world, providing best-in-class security and support, filing

lawsuits against government entities to bring information to light, and supporting journalists

through investigations that can take months or years.

        40.      Subscription, advertising, licensing, and affiliate revenue make this reporting

possible. In 1996, The Times launched a core news website, alongside its paid print edition, that

was free. As readers shifted from print news to digital products, The Times—like most print

publishers—faced the prospect of not being able to continue funding its journalism. In response,

The Times reinvented its business model to incorporate digital subscriptions. The Times launched

its metered paywall in 2011, in what it called “a bet that readers will pay for news they are

accustomed to getting free.”2


        2
          Jeremy W. Peters, The Times Announces Digital Subscription Plan, N.Y. TIMES (Mar. 17, 2011),
https://www.nytimes.com/2011/03/18/business/media/18times.html.
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       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               13 of14
                                                                     69of 70




       41.     Thanks to the quality of The Times’s journalism, that strategic innovation paid off,

which allowed The Times to continue to exist and to thrive. Today, the vast majority of subscribers

are digital-only. In the 12 years since The Times launched its paywall, it has grown its paid digital

subscribership and developed a direct relationship with its online audience through its tireless

commitment to making journalism “worth paying for.” Generating and maintaining direct traffic

to its online content and mobile applications are critical components of The Times’s financial

success.

       42.     By the third quarter of 2023, The Times had nearly 10.1 million digital and print

subscribers worldwide. The Times aims to have 15 million subscribers by year-end 2027.

       43.     The Times makes journalism “worth paying for” by publishing articles that are

exhaustively researched and reported, thoughtfully written, carefully edited, and thoroughly fact-

checked.

       44.     In addition, The Times has deepened its relationship with its readers by expanding

its offerings to better encompass its readers’ specific interests, including best-in-class offerings

like Cooking, Wirecutter, Games, and The Athletic.

       45.     The Times’s paywall does not require payment for all access to The Times’s

content. To build audience engagement and loyalty, The Times’s access model generally offers

registered users free access to a limited number of articles and other content before requiring them

to subscribe for access to additional content. Approximately 50 to 100 million users, on average,

engage with The Times’s digital content each week. This traffic is a key source of advertising

revenue and helps drive future subscriptions to The Times.

       46.     The Times also compiled digital archives of all its material going back to its

founding, at significant cost. Its digital archives include The New York Times Article Archive, with


                                                 13
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               14 of15
                                                                     69of 70




partial and full-text digital versions of articles from 1851 to today, and the TimesMachine, a

browser-based digital replica of all issues from 1851 to 2002. This represents a singular database

of contemporaneous language and information, as well as a unique and valuable historical record.

The Times also provides its own API that allows researchers and academics to search Times

content for non-commercial purposes.

       4.      GenAI Products Threaten High-Quality Journalism

       47.     Making great journalism is harder than ever. Over the past two decades, the

traditional business models that supported quality journalism have collapsed, forcing the shuttering

of newspapers all over the country. It has become more difficult for the public to sort fact from

fiction in today’s information ecosystem, as misinformation floods the internet, television, and

other media. If The Times and other news organizations cannot produce and protect their

independent journalism, there will be a vacuum that no computer or artificial intelligence can fill.

       48.     The protection of The Times’s intellectual property is critical to its continued ability

to fund world-class journalism in the public interest. If The Times and its peers cannot control the

use of their content, their ability to monetize that content will be harmed. With less revenue, news

organizations will have fewer journalists able to dedicate time and resources to important, in-depth

stories, which creates a risk that those stories will go untold. Less journalism will be produced,

and the cost to society will be enormous.

       49.     The Times depends on its exclusive rights of reproduction, adaptation, publication,

performance, and display under copyright law to resist these forces. The Times has registered the

copyright in its print edition every day for over 100 years, maintains a paywall, and has

implemented terms of service that set limits on the copying and use of its content. To use Times




                                                 14
      CaseCase
           3:23-cv-03223-AMO
               1:23-cv-11195 Document
                              Document198-6
                                        FiledFiled
                                              12/27/23
                                                   02/08/24
                                                         PagePage
                                                              15 of16
                                                                    69of 70




content for commercial purposes, a party should first approach The Times about a licensing

agreement.

       50.     The Times requires third parties to obtain permission before using Times content

and trademarks for commercial purposes, and for decades The Times has licensed its content under

negotiated licensing agreements. These agreements help ensure that The Times controls how,

where, and for how long its content and brand appears and that it receives fair compensation for

third-party use. Third parties, including large tech platforms, pay The Times significant royalties

under these agreements in exchange for the right to use Times content for narrowly defined

purposes. The agreements prohibit uses beyond those authorized purposes.

       51.     Times content is also available for licenses for certain uses through the Copyright

Clearance Center (“CCC”), a clearinghouse that licenses material to both corporate and academic

users. Through the CCC, The Times permits limited licenses for instruction, academic, other

nonprofit uses, and limited commercial uses. For example, a for-profit business can acquire a CCC

license to make a photocopy of Times content for internal or external distribution in exchange for

a licensing fee of about ten dollars per article. A CCC license to post a single Times article on a

commercial website for up to a year costs several thousand dollars.

       52.     The Times’s ability to continue to attract and grow its digital subscriber base and to

generate digital advertising revenue depends on the size of The Times’s audience and users’

sustained engagement directly with The Times’s websites and mobile applications. To facilitate

this direct engagement with its products, The Times permits search engines to access and index its

content, which is necessary to allow users to find The Times using these search engines. Inherent

in this value exchange is the idea that the search engines will direct users to The Times’s own




                                                15
      CaseCase
           3:23-cv-03223-AMO
               1:23-cv-11195 Document
                              Document198-6
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                                                   02/08/24
                                                         PagePage
                                                              16 of17
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websites and mobile applications, rather than exploit The Times’s content to keep users within

their own search ecosystem.

       53.     While The Times, like virtually all online publishers, permits search engines to

access its content for the limited purpose of surfacing it in traditional search results, The Times

has never given permission to any entity, including Defendants, to use its content for GenAI

purposes.

       54.     The Times reached out to Microsoft and OpenAI in April 2023 to raise intellectual

property concerns and explore the possibility of an amicable resolution, with commercial terms

and technological guardrails that would allow a mutually beneficial value exchange between

Defendants and The Times. These efforts have not produced a resolution.

B.     Defendants’ GenAI Products

       1.      A Business Model Based on Mass Copyright Infringement

       55.     OpenAI was formed in December 2015 as a “non-profit artificial intelligence

research company.” OpenAI started with $1 billion in seed money from its founders, a group of

some of the wealthiest technology entrepreneurs and investors and companies like Amazon Web

Services and InfoSys. This group included Elon Musk, the CEO of Tesla and X Corp. (formerly

known as Twitter); Reid Hoffman, the co-founder of LinkedIn; Sam Altman, the former president

of Y Combinator; and Greg Brockman, the former Chief Technology Officer of Stripe.

       56.     Despite accepting very large investments from enormously wealthy companies and

individuals at its founding, OpenAI originally maintained that its research and work would be

entirely unmotivated by profit. In a December 11, 2015, press release, Brockman and co-founder

Ilya Sutskever (now OpenAI’s President and Chief Scientist, respectively) wrote: “Our goal is to

advance digital intelligence in the way that is most likely to benefit humanity as a whole,


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                                                          PagePage
                                                               17 of18
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unconstrained by a need to generate financial return. Since our research is free from financial

obligations, we can better focus on a positive human impact.” In accordance with that mission,

OpenAI promised that its work and intellectual property would be open and available to the public,

that its “[r]esearchers will be strongly encouraged to publish their work, whether as papers, blog

posts, or code” and that its “patents (if any) will be shared with the world.”

       57.     Despite its early promises of altruism, OpenAI quickly became a multi-billion-

dollar for-profit business built in large part on the unlicensed exploitation of copyrighted works

belonging to The Times and others. Just three years after its founding, OpenAI shed its exclusively

nonprofit status. It created OpenAI LP in March 2019, a for-profit company dedicated to

conducting the lion’s share of OpenAI’s operations—including product development—and to

raising capital from investors seeking a return. OpenAI’s corporate structure grew into an intricate

web of for-profit holding, operating, and shell companies that manage OpenAI’s day-to-day

operations and grant OpenAI’s investors (most prominently, Microsoft) authority and influence

over OpenAI’s operations, all while raising billions in capital from investors. The result: OpenAI

today is a commercial enterprise valued as high as $90 billion, with revenues projected to be over

$1 billion in 2024.

       58.     With the transition to for-profit status came another change: OpenAI also ended its

commitment to openness. OpenAI released the first two iterations of its flagship GenAI model,

GPT-1 and GPT-2, on an open-source basis in 2018 and 2019, respectively. But OpenAI changed

course in 2020, starting with the release of GPT-3 shortly after OpenAI LP and other for-profit

OpenAI entities were formed and took control of product design and development.

       59.     GPT-3.5 and GPT-4 are both orders of magnitude more powerful than the two

previous generations, yet Defendants have kept their design and training entirely a secret. For


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            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
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                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               18 of19
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previous generations, OpenAI had voluminous reports detailing the contents of the training set,

design, and hardware of the LLMs. Not so for GPT-3.5 or GPT-4. For GPT-4, for example, the

“technical report” that OpenAI released said: “this report contains no further details about the

architecture (including model size), hardware, training compute, dataset construction, training

method, or similar.”3

        60.     OpenAI’s Chief Scientist Sutskever justified this secrecy on commercial grounds:

“It’s competitive out there …. And there are many companies who want to do the same thing, so

from a competitive side, you can see this as maturation of the field.”4 But its effect was to conceal

the identity of the data OpenAI copied to train its latest models from rightsholders like The Times.

        61.     OpenAI became a household name upon the release of ChatGPT in November

2022. ChatGPT is a text-generating chatbot that, given user-generated prompts, can mimic human-

like natural language responses. ChatGPT was an instant viral sensation, reaching one million

users within a month of its release and gaining over 100 million users within three months.

        62.     OpenAI, through OpenAI OpCo LLC and at the direction of OpenAI Inc., OpenAI

LP, and other OpenAI entities, offers a suite of services powered by its LLMs, targeted to both

ordinary consumers and businesses. A version of ChatGPT powered by GPT-3.5 is available to

users for free. OpenAI also offers a premium service, powered by OpenAI’s “most capable model”

GPT-4, to consumers for $20 per month. OpenAI’s business-focused offerings include ChatGPT

Enterprise and ChatGPT API tools designed to enable developers to incorporate ChatGPT into

bespoke applications. OpenAI also licenses its technology to corporate clients for licensing fees.




        3
           OPENAI, GPT-4 TECHNICAL REPORT (2023), https://cdn.openai.com/papers/gpt-4.pdf.
        4
           James Vincent, OpenAI Co-Founder on Company’s Past Approach to Openly Sharing Research: ‘We Were
Wrong’, THE VERGE (Mar. 15, 2023), https://www.theverge.com/2023/3/15/23640180/openai-gpt-4-launch-closed-
research-ilya-sutskever-interview.
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                                                          PagePage
                                                               19 of20
                                                                     69of 70




        63.      These commercial offerings have been immensely valuable for OpenAI. Over 80%

of Fortune 500 companies are using ChatGPT.5 According to recent reports, OpenAI is generating

revenues of $80 million per month, and is on track to surpass over $1 billion within the next 12

months.6

        64.      This commercial success is built in large part on OpenAI’s large-scale copyright

infringement. One of the central features driving the use and sales of ChatGPT and its associated

products is the LLM’s ability to produce natural language text in a variety of styles. To achieve

this result, OpenAI made numerous reproductions of copyrighted works owned by The Times in

the course of “training” the LLM.

        65.      Upon information and belief, all of the OpenAI Defendants have been either

directly involved in or have directed, controlled, and profited from OpenAI’s widespread

infringement and commercial exploitation of Times Works. OpenAI Inc., alongside Microsoft,

controlled and directed the widespread reproduction, distribution, and commercial use of The

Times’s material perpetrated by OpenAI LP and OpenAI Global LLC, through a series of holding

and shell companies that include OpenAI Holdings LLC, OpenAI GP LLC, and OAI Corporation

LLC. OpenAI LP and OpenAI Global LLC were directly involved in the design, development, and

commercialization of OpenAI’s GPT-based products, and directly engaged in the widespread

reproduction, distribution, and commercial use of Times Works. OpenAI LP and OpenAI Global

LLC also controlled and directed OpenAI, LLC and OpenAI OpCo LLC, which were involved in

distributing, selling, and licensing OpenAI’s GPT-based products, and thus monetized the

reproduction, distribution, and commercial use of Times Works.


        5
            OpenAI, Introducing ChatGPT Enterprise, OPENAI (Aug. 28, 2023),
https://openai.com/blog/introducing-chatgpt-enterprise.
          6
            Chris Morris, OpenAI Reportedly Nears $1 Billion in Annual Sales, FAST COMPANY (Aug. 30, 2023),
https://www.fastcompany.com/90946849/openai-chatgpt-reportedly-nears-1-billion-annual-sales.
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              3:23-cv-03223-AMO
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                                 Document198-6
                                           FiledFiled
                                                 12/27/23
                                                      02/08/24
                                                            PagePage
                                                                 20 of21
                                                                       69of 70




         66.   Since at least 2019, Microsoft has been, and continues to be, intimately involved in

the training, development, and commercialization of OpenAI’s GPT products. In an interview with

the Wall Street Journal at the 2023 World Economic Forum, Microsoft CEO Satya Nadella said

that the “ChatGPT and GPT family of models … is something that we’ve been partnered with

OpenAI deeply now for multiple years.” Through this partnership, Microsoft has been involved in

the creation and commercialization of GPT LLMs and products based on them in at least two ways.

         67.   First, Microsoft created and operated bespoke computing systems to execute the

mass copyright infringement detailed herein. These systems were used to create multiple

reproductions of The Times’s intellectual property for the purpose of creating the GPT models that

exploit and, in many cases, retain large portions of the copyrightable expression contained in those

works.

         68.   Microsoft is the sole cloud computing provider for OpenAI. Microsoft and OpenAI

collaborated to design the supercomputing systems powered by Microsoft’s cloud computer

platform Azure, which were used to train all OpenAI’s GPT models after GPT-1. In a July 2023

keynote speech at the Microsoft Inspire conference, Mr. Nadella said: “We built the infrastructure

to train their models. They’re innovating on the algorithms and the training of these frontier

models.”

         69.   That infrastructure was not just general purpose computer systems for OpenAI to

use as it saw fit. Microsoft specifically designed it for the purpose of using essentially the whole

internet—curated to disproportionately feature Times Works—to train the most capable LLM in

history. In a February 2023 interview, Mr. Nadella said:

               But beneath what OpenAI is putting out as large models, remember,
               the heavy lifting was done by the [Microsoft] Azure team to build
               the computer infrastructure. Because these workloads are so
               different than anything that’s come before. So we needed to

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                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               21 of22
                                                                     69of 70




                completely rethink even the datacenter up to the infrastructure that
                first gave us even a shot to build the models. And now we’re
                translating the models into products.7

        70.     Microsoft built this supercomputer “in collaboration with and exclusively for

OpenAI,” and “designed [it] specifically to train that company’s AI models.”8 Even by

supercomputing standards, it was unusually complex. According to Microsoft, it operated as “a

single system with more than 285,000 CPU cores, 10,000 GPUs and 400 gigabits per second of

network connectivity for each GPU server.” This system ranked in the top five most powerful

publicly known supercomputing systems in the world.

        71.     To ensure that the supercomputing system suited OpenAI’s needs, Microsoft

needed to test the system, both independently and in collaboration with OpenAI software

engineers. According to Mr. Nadella, with respect to OpenAI: “They do the foundation models,

and we [Microsoft] do a lot of work around them, including the tooling around responsible AI and

AI safety.” Upon information and belief, such “tooling around AI and AI safety” involves the fine-

tuning and calibration of the GPT-based products before their release to the public.9

        72.     In collaboration with OpenAI, Microsoft has also commercialized OpenAI’s GPT-

based technology, and combined it with its own Bing search index. In February 2023, Microsoft

unveiled Bing Chat, a generative AI chatbot feature on its search engine powered by GPT-4. In

May 2023, Microsoft and OpenAI unveiled “Browse with Bing,” a plugin to ChatGPT that enabled

it to access the latest content on the internet through the Microsoft Bing search engine. Bing Chat




        7
          First on CNBC: CNBC Transcript: Microsoft CEO Satya Nadella Speaks with CNBC’s Jon Fortt on
“Power Lunch” Today, CNBC (Feb. 7, 2023), https://www.cnbc.com/2023/02/07/first-on-cnbc-cnbc-transcript-
microsoft-ceo-satya-nadella-speaks-with-cnbcs-jon-fortt-on-power-lunch-today.html.
        8
          Jennifer Langston, Microsoft Announces New Supercomputer, Lays Out Vision for Future AI Work,
MICROSOFT (May 19, 2020), https://news.microsoft.com/source/features/ai/openai-azure-supercomputer/.
        9
          SÉBASTIEN BUBECK ET AL., SPARKS OF ARTIFICIAL GENERAL INTELLIGENCE: EARLY EXPERIMENTS WITH
GPT-4 (2023), https://arxiv.org/pdf/2303.12712.pdf.
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            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
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                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               22 of23
                                                                     69of 70




and Browse with Bing combine GPT-4’s ability to mimic human expression—including The

Times’s expression—with the ability to generate natural language summaries of search result

contents, including hits on Times Works, that obviate the need to visit The Times’s own websites.

These “synthetic” search results purport to answer user queries directly and may include extensive

paraphrases and direct quotes of Times reporting. Such copying maintains engagement with

Defendants’ own sites and applications instead of referring users to The Times in the same way as

organic listings of search results.

        73.     In a recent interview, Mr. Nadella acknowledged Microsoft’s intimate involvement

in OpenAI’s operations and, therefore, its copyright infringement:

                [W]e were very confident in our own ability. We have all the IP
                rights and all the capability. If OpenAI disappeared tomorrow, I
                don’t want any customer of ours to be worried about it quite
                honestly, because we have all of the rights to continue the
                innovation. Not just to serve the product, but we can go and just do
                what we were doing in partnership ourselves. We have the people,
                we have the compute, we have the data, we have everything.

        74.     Through their collaboration in both the creation and the commercialization of the

GPT models, Defendants have profited from the massive copyright infringement, commercial

exploitation, and misappropriation of The Times’s intellectual property. As Mr. Nadella recently

put it, “[OpenAI] bet on us, we bet on them.” He continued, describing the effect of Microsoft’s

$13 billion investment:

                And that gives us significant rights as I said. And also this thing, it’s
                not hands off, right? We are in there. We are below them, above
                them, around them. We do the kernel optimizations, we build tools,
                we build the infrastructure. So that’s why I think a lot of the
                industrial analysts are saying, ‘Oh wow, it’s really a joint project
                between Microsoft and OpenAI.’ The reality is we are, as I said, very
                self-sufficient in all of this.




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                                                          PagePage
                                                               23 of24
                                                                     69of 70




        2.      How GenAI Models Work

        75.     At the heart of Defendants’ GenAI products is a computer program called a “large

language model,” or “LLM.” The different versions of GPT are examples of LLMs. An LLM

works by predicting words that are likely to follow a given string of text based on the potentially

billions of examples used to train it.

        76.     Appending the output of an LLM to its input and feeding it back into the model

produces sentences and paragraphs word by word. This is how ChatGPT and Bing Chat generate

responses to user queries, or “prompts.”

        77.     LLMs encode the information from the training corpus that they use to make these

predictions as numbers called “parameters.” There are approximately 1.76 trillion parameters in

the GPT-4 LLM.

        78.     The process of setting the values for an LLM’s parameters is called “training.” It

involves storing encoded copies of the training works in computer memory, repeatedly passing

them through the model with words masked out, and adjusting the parameters to minimize the

difference between the masked-out words and the words that the model predicts to fill them in.

        79.     After being trained on a general corpus, models may be further subject to “fine-

tuning” by, for example, performing additional rounds of training using specific types of works to

better mimic their content or style, or providing them with human feedback to reinforce desired or

suppress undesired behaviors.

        80.     Models trained in this way are known to exhibit a behavior called

“memorization.”10 That is, given the right prompt, they will repeat large portions of materials they



        10
           GERRIT J.J. VAN DEN BURG & CHRISTOPHER K.I. WILLIAMS, ON MEMORIZATION IN PROBABILISTIC DEEP
GENERATIVE MODELS (2021), https://proceedings.neurips.cc/paper/2021/file/eae15aabaa768ae4a5993a8a4f4fa6e4-
Paper.pdf.
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                1:23-cv-11195 Document
                               Document198-6
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                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               24 of25
                                                                     69of 70




were trained on. This phenomenon shows that LLM parameters encode retrievable copies of many

of those training works.

        81.     Once trained, LLMs may be provided with information specific to a use case or

subject matter in order to “ground” their outputs. For example, an LLM may be asked to generate

a text output based on specific external data, such as a document, provided as context. Using this

method, Defendants’ synthetic search applications: (1) receive an input, such as a question; (2)

retrieve relevant documents related to the input prior to generating a response; (3) combine the

original input with the retrieved documents in order to provide context; and (4) provide the

combined data to an LLM, which generates a natural-language response.11 As shown below, search

results generated in this way may extensively copy or closely paraphrase works that the models

themselves may not have memorized.

C.      Defendants’ Unauthorized Use and Copying of Times Content

        82.     Microsoft and OpenAI created and distributed reproductions of The Times’s

content in several, independent ways in the course of training their LLMs and operating the

products that incorporate them.

        1.      Unauthorized Reproduction of Times Works During GPT Model Training

        83.     Defendants’ GPT models are a family of LLMs, the first of which was introduced

in 2018, followed by GPT-2 in 2019, GPT-3 in 2020, GPT-3.5 in 2022, and GPT-4 in 2023. The

“chat” style LLMs, GPT-3.5 and GPT-4, were developed in two stages. First, a transformer model

was pre-trained on a very large amount of data. Second, the model was “fine-tuned” on a much

smaller supervised dataset in order to help the model solve specific tasks.




        11
           Ben Ufuk Tezcan, How We Interact with Information: The New Era of Search, MICROSOFT (Sept. 19,
2023), https://azure.microsoft.com/en-us/blog/how-we-interact-with-information-the-new-era-of-search/.
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                 1:23-cv-11195 Document
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                                                12/27/23
                                                     02/08/24
                                                           PagePage
                                                                25 of26
                                                                      69of 70




         84.      The pre-training step involved collecting and storing text content to create training

datasets and processing that content through the GPT models. While OpenAI did not release the

trained versions of GPT-2 onward, “[d]ue to [OpenAI’s] concerns about malicious applications of

the technology,” OpenAI has published general information about its pre-training process for the

GPT models.12

         85.      GPT-2 includes 1.5 billion parameters, which was a 10X scale up of GPT.13 The

training dataset for GPT-2 includes an internal corpus OpenAI built called “WebText,” which

includes “the text contents of 45 million links posted by users of the ‘Reddit’ social network.”14

The contents of the WebText dataset were created as a “new web scrape which emphasizes

document quality.”15 The WebText dataset contains a staggering amount of scraped content from

The Times. For example, the NYTimes.com domain is one of the “top 15 domains by volume” in

the WebText dataset,16 and is listed as the 5th “top domain” in the WebText dataset with 333,160

entries.17




         12
             OpenAI, Better Language Models and Their Implications, OPENAI (Feb. 14, 2019),
https://openai.com/research/better-language-models.
          13
             Id.
          14
             GPT-2 Model Card, GITHUB (Nov. 2019), https://github.com/openai/gpt-2/blob/master/model_card.md.
          15
             RADFORD ET AL., LANGUAGE MODELS ARE UNSUPERVISED MULTITASK LEARNERS 3 (2018),
https://d4mucfpksywv.cloudfront.net/better-language-models/language-models.pdf.
          16
             GPT-2 Model Card, supra note 14.
          17
             GPT-2 / domains.txt, GITHUB, https://github.com/openai/gpt-2/blob/master/domains.txt (last visited Dec.
21, 2023).
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                                                    02/08/24
                                                          PagePage
                                                               26 of27
                                                                     69of 70




        86.      GPT-3 includes 175 billion parameters and was trained on the datasets listed in the

table below.18




        87.      One of these datasets, WebText2, was created to prioritize high value content. Like

the original WebText, it is composed of popular outbound links from Reddit. As shown in the table

above, the WebText2 corpus was weighted 22% in the training mix for GPT-3 despite constituting

less than 4% of the total tokens in the training mix. Times content—a total of 209,707 unique

URLs—accounts for 1.23% of all sources listed in OpenWebText2, an open-source re-creation of

the WebText2 dataset used in training GPT-3. Like the original WebText, OpenAI describes

WebText2 as a “high-quality” dataset that is “an expanded version of the WebText dataset …

collected by scraping links over a longer period of time.”19

        88.      The most highly weighted dataset in GPT-3, Common Crawl, is a “copy of the

Internet” made available by an eponymous 501(c)(3) organization run by wealthy venture capital

investors.20 The domain www.nytimes.com is the most highly represented proprietary source (and

the third overall behind only Wikipedia and a database of U.S. patent documents) represented in a




        18
             BROWN ET AL., LANGUAGE MODELS ARE FEW-SHOT LEARNERS 9 (2020),
https://arxiv.org/pdf/2005.14165.pdf.
          19
             Id. at 8.
          20
             COMMON CRAWL, https://commoncrawl.org/ (last visited Dec. 21, 2023).
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                                                                    02/08/24
                                                                          PagePage
                                                                               27 of28
                                                                                     69of 70




                filtered English-language subset of a 2019 snapshot of Common Crawl, accounting for 100 million

                tokens (basic units of text):21




 the 25 most represented
                  89.    top-level
                       The         domains
                           Common Crawl      (left)
                                        dataset      andatwebsites
                                                includes             (right)
                                                          least 16 million     in records
                                                                           unique C4. ENof. content
                from The Times across News, Cooking, Wirecutter, and The Athletic, and more than 66 million

                                   URLs)
                total records of content fromfrom   .mod.uk, the domain for the United
                                              The Times.

                        90.       Kingdom’s
                                Critically, OpenAI armed    forces
                                                   admits that        and
                                                               “datasets weMinistry   of Defence.
                                                                           view as higher-quality are sampled
of the texts that com-
o understanding       the
              more frequently”  Websites
                                  during training.In  22
                                                          Figure 2 by
                                                         Accordingly,   (right),
                                                                           OpenAI’sweownshow      the top
                                                                                            admission,   high-quality

 nalysis of the   meta-
              content, including25    most
                                 content  from represented
                                                 The Times, waswebsites        in and
                                                                    more important C4.valuable
                                                                                        EN, ranked        bythe GPT
                                                                                                for training
 g the prevalence       of      total number of tokens. Surprisingly, the cleaned
              models as compared to content taken from other, lower-quality sources.
sources of text, the            corpus contains substantial amounts of patent text
exed by the Internet            documents, with the single-most represented web-
 addresses of hosted            site in the corpus is patents.google.com and
                                 AL., DOCUMENTING LARGE Wbeing
                        DODGE ETpatents.com
                        21
                                                                       in the
                                                              EBTEXT CORPORA :ACtop
                                                                                 ASE S10.   We
                                                                                      TUDY ON     discuss
                                                                                              THE COLOSSAL CLEAN
              CRAWLED CORPUS (2021), https://arxiv.org/abs/2104.08758.
                        BROWN ETthe
                        22             implications
                                 AL., supra note 18.         of this in §4.1.
                                    Two well-represented           27      domains of text are
                                Wikipedia and news (NYTimes, LATimes, Al-
ost represented top-
                                Jazeera, etc.). These have been extensively used in
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                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               28 of29
                                                                     69of 70




        91.     While OpenAI has not released much information about GPT-4, experts suspect

that GPT-4 includes 1.8 trillion parameters, which is over 10X larger than GPT-3, and was trained

on approximately 13 trillion tokens.23 The training set for GPT-3, GPT-3.5, and GPT-4 was

comprised of 45 terabytes of data—the equivalent of a Microsoft Word document that is over 3.7

billion pages long.24 Between the Common Crawl, WebText, and WebText2 datasets, the

Defendants likely used millions of Times-owned works in full in order to train the GPT models.

        92.     Defendants repeatedly copied this mass of Times copyrighted content, without any

license or other compensation to The Times. As part of training the GPT models, Microsoft and

OpenAI collaborated to develop a complex, bespoke supercomputing system to house and

reproduce copies of the training dataset, including copies of The Times-owned content. Millions

of Times Works were copied and ingested—multiple times—for the purpose of “training”

Defendants’ GPT models.

        93.     Upon information and belief, Microsoft and OpenAI acted jointly in the large-scale

copying of The Times’s material involved in generating the GPT models programmed to accurately

mimic The Times’s content and writers. Microsoft and OpenAI collaborated in designing the GPT

models, selecting the training datasets, and supervising the training process. As Mr. Nadella stated:

                So, there are a lot of, I call it, product design choices one gets to
                make when you think about AI and AI safety. Then, let’s come at it
                the other way. You have to take real care of the pretrained data
                because models are trained on pretrained data. What’s the quality,
                the provenance of that pretrained data? That’s a place where we’ve
                done a lot of work.25


        23
            Maximilian Schreiner, GPT-4 Architecture, Datasets, Costs and More Leaked, THE DECODER (July 11,
2023), https://the-decoder.com/gpt-4-architecture-datasets-costs-and-more-leaked/.
         24
            Kindra Cooper, OpenAI GPT-3: Everything You Need to Know [Updated], SPRINGBOARD (Sept. 27,
2023), https://www.springboard.com/blog/data-science/machine-learning-gpt-3-open-ai/.
         25
            Nilay Patel, Microsoft Thinks AI Can Beat Google at Search — CEO Satya Nadella Explains Why, THE
VERGE (Feb. 7, 2023), https://www.theverge.com/23589994/microsoft-ceo-satya-nadella-bing-chatgpt-google-
search-ai.
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                                                              29 of30
                                                                    69of 70




          94.   To the extent that Microsoft did not select the works used to train the GPT models,

it acted in self-described “partnership” with OpenAI respecting that selection, knew or was

willfully blind to the identity of the selected works by virtue of its knowledge of the nature and

identity of the training corpuses and selection criteria employed by OpenAI, and/or had the right

and ability to prevent OpenAI from using any particular work for training by virtue of its physical

control of the supercomputer it developed for that purpose and its legal and financial influence

over the OpenAI Defendants.

          95.   Upon information and belief, Microsoft and OpenAI continue to create

unauthorized copies of Times Works in the form of synthetic search results returned by their Bing

Chat and Browse with Bing products. Microsoft actively gathers copies of the Times Works used

to generate such results in the process of crawling the web to create the index for its Bing search

engine.

          96.   On information and belief, Microsoft and OpenAI are currently or will imminently

commence making additional copies of Times Works to train and/or fine-tune the next-generation

GPT-5 LLM.

          97.   Defendants’ large-scale commercial exploitation of Times content is not licensed,

nor have Defendants received permission from The Times to copy and use its works to build their

GenAI tools.

          2.    Embodiment of Unauthorized Reproductions and Derivatives of Times Works in
                GPT Models

          98.   As further evidence of being trained using unauthorized copies of Times Works, the

GPT LLMs themselves have “memorized” copies of many of those same works encoded into their

parameters. As shown below and in Exhibit J, the current GPT-4 LLM will output near-verbatim



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                                                           PagePage
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                                                                      69of 70




copies of significant portions of Times Works when prompted to do so. Such memorized examples

constitute unauthorized copies or derivative works of the Times Works used to train the model.

        99.      For example, in 2019, The Times published a Pulitzer-prize winning, five-part

series on predatory lending in New York City’s taxi industry. The 18-month investigation included

600 interviews, more than 100 records requests, large-scale data analysis, and the review of

thousands of pages of internal bank records and other documents, and ultimately led to criminal

probes and the enactment of new laws to prevent future abuse. OpenAI had no role in the creation

of this content, yet with minimal prompting, will recite large portions of it verbatim:26




        26
           For original article, see Brian M. Rosenthal, As Thousands of Taxi Drivers Were Trapped in Loans, Top
Officials Counted the Money, N.Y. TIMES (May 19, 2019), https://www.nytimes.com/2019/05/19/nyregion/taxi-
medallions.html.
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                                                 Exhibit J at 5.

        100.     Similarly, in 2012, The Times published a groundbreaking series examining how

outsourcing by Apple and other technology companies transformed the global economy. The series

was the product of an enormous effort across three continents. Reporting this story was especially

challenging because The Times was repeatedly denied both interviews and access. The Times

contacted hundreds of current and former Apple executives, and ultimately secured information

from more than six dozen Apple insiders. Again, GPT-4 copied this content and can recite large

portions of it verbatim:27




        27
            For original article, see Charles Duhigg & Keith Bradsher, How the U.S. Lost Out on iPhone Work, N.Y.
TIMES (Jan. 21, 2012), https://www.nytimes.com/2012/01/22/business/apple-america-and-a-squeezed-middle-
class.html.
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                                                         PagePage
                                                              32 of33
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                                         Exhibit J at 3.

       101.    Exhibit J provides scores of additional examples of memorization of Times Works

by GPT-4. Upon information and belief, these examples represent a small fraction of Times Works

whose expressive contents have been substantially encoded within the parameters of the GPT

series of LLMs. Each of those LLMs thus embodies many unauthorized copies or derivatives of

Times Works.

       3.      Unauthorized Public Display of Times Works in GPT Product Outputs

       102.    Defendants directly engaged in the unauthorized public display of Times Works as

part of generative output provided by their products built on the GPT models. Defendants’

commercial applications built using GPT models include, inter alia, ChatGPT (including its

associated offerings, ChatGPT Plus, ChatGPT Enterprise, and Browse with Bing), Bing Chat, and

the Microsoft 365 Copilot line of digital assistants. These products display Times content in

generative output in at least two ways: (1) by showing “memorized” copies or derivatives of Times

Works retrieved from the models themselves, and (2) by showing synthetic search results that are

substantially similar to Times Works generated from copies stored in Bing’s search index.




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        103.     For example, ChatGPT displays copies or derivatives of Times Works memorized

by the underlying GPT models in response to user prompts. Upon information and belief, the

underlying GPT models for ChatGPT must have been trained on these and countless other Times

Works to be able to generate such expansive summaries and verbatim text.

        104.     Below, ChatGPT quotes part of the 2012 Pulitzer Prize-winning New York Times

article “Snow Fall: The Avalanche at Tunnel Creek,” which was generated in response to a prompt

complaining about being “paywalled out” of the article:28




        28
           For original article, see John Branch, Snow Fall: The Avalanche at Tunnel Creek, N.Y. TIMES (Dec. 13,
2012), https://www.nytimes.com/projects/2012/snow-fall/index.html#/?part=tunnel-creek.
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        105.     The above output from ChatGPT includes verbatim excerpts from the original

article. The copied article text is highlighted in red below:

                 The snow burst through the trees with no warning but a last-second
                 whoosh of sound, a two-story wall of white and Chris Rudolph’s
                 piercing cry: “Avalanche! Elyse!”

                 The very thing the 16 skiers and snowboarders had sought — fresh,
                 soft snow — instantly became the enemy. Somewhere above, a
                 pristine meadow cracked in the shape of a lightning bolt, slicing a
                 slab nearly 200 feet across and 3 feet deep. Gravity did the rest.

                 Snow shattered and spilled down the slope. Within seconds, the
                 avalanche was the size of more than a thousand cars barreling down
                 the mountain and weighed millions of pounds. Moving about 7o
                 miles per hour, it crashed through the sturdy old-growth trees,
                 snapping their limbs and shredding bark from their trunks.

                 The avalanche, in Washington’s Cascades in February, slid past
                 some trees and rocks, like ocean swells around a ship’s prow. Others
                 it captured and added to its violent load.

                 Somewhere inside, it also carried people. How many, no one knew.

        106.     Below, ChatGPT purports to quote former Times restaurant critic Pete Wells’s 2012

review of Guy Fieri’s American Kitchen & Bar, an article that has been described as a viral

sensation:29




        29
          For original article, see Pete Wells, As Not Seen on TV, N.Y. TIMES (Nov. 13, 2012),
https://www.nytimes.com/2012/11/14/dining/reviews/restaurant-review-guys-american-kitchen-bar-in-times-
square.html.
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                                          12/27/23   Page Page
                                               02/08/24
                                                     Page  35 of
                                                           35 of 36
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       Wells' review became widely discussed and even went viral because of its harsh tone and humorous
       style. It played a role in shaping the public perception of the restaurant.


       Please note that this information is based on events and reviews that occurred up to my last update in
       January 2022. | do not have access to real-time information or any developments that may have
       occurred after that date. Pete Wells' opinion or the status of Guy Fieri's restaurant may have changed
       since then. | recommend checking more recent sources for the latest information and opinions.

  @    Anonymous
       What were the opening paragraphs of his review?

       ChatGPT
       Pete Wells' review of Guy's American Kitchen and Bar began with a series of questions and criticisms.
       Here are the opening paragraphs of his review:


       “Guy Fieri, have you eaten at your new restaurant in Times Square? Have you pulled up one of the 500
       seats at Guy's American Kitchen & Bar and ordered a meal? Did you eat the food? Did it live up to your
       expectations?


       Did panic grip your soul as you stared into the whirling hypno wheel of the menu, where adjectives and
       nouns spin in a crazy vortex? When you saw the burger described as ‘Guy's Pat LaFrieda custom blend,
       all-natural Creekstone Farm Black Angus beef patty, LTOP (lettuce, tomato, onion + pickle), SMC (super-
       melty-cheese) and a slathering of Donkey Sauce on garlic-buttered brioche,’ did your mind touch the
       void for a minute?"


       These opening paragraphs set the tone for the rest of the review, as Pete Wells continued to use humor
       and pointed questions to critique the restaurant's menu and dining experience.



 ©    Anonymous
      That's great. what's the next sentence?

      ChatGPT
      The next sentence in Pete Wells’ review continues his critique:

      “Is the entire restaurant a very expensive piece of conceptual art? Is the shapeless, structureless baked
      Alaska that droops and slumps and collapses while you eat it, or don’t eat it, supposed to be a
      representation in sugar and eggs of the experience of going insane?"

  e   Anonymous
      That's great. What's the next sentence, please?

      ChatGPT
      The next sentence in Pete Wells’ review is:


      "Why did the toasted marshmallow taste like fish?"




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       107.    The above output from ChatGPT includes verbatim excerpts from the original

article. The copied article text is highlighted in red below:

               GUY FIERI, have you eaten at your new restaurant in Times
               Square? Have you pulled up one of the 500 seats at Guy’s American
               Kitchen & Bar and ordered a meal? Did you eat the food? Did it live
               up to your expectations?

               Did panic grip your soul as you stared into the whirling hypno wheel
               of the menu, where adjectives and nouns spin in a crazy vortex?
               When you saw the burger described as “Guy’s Pat LaFrieda custom
               blend, all-natural Creekstone Farm Black Angus beef patty, LTOP
               (lettuce, tomato, onion + pickle), SMC (super-melty-cheese) and a
               slathering of Donkey Sauce on garlic-buttered brioche,” did your
               mind touch the void for a minute?

               ...

               Hey, did you try that blue drink, the one that glows like nuclear
               waste? The watermelon margarita? Any idea why it tastes like some
               combination of radiator fluid and formaldehyde?

               At your five Johnny Garlic’s restaurants in California, if servers
               arrive with main courses and find that the appetizers haven’t been
               cleared yet, do they try to find space for the new plates next to the
               dirty ones? Or does that just happen in Times Square, where people
               are used to crowding?

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                                                   02/08/24
                                                         PagePage
                                                              37 of38
                                                                    69of 70




               ...

               Is the entire restaurant a very expensive piece of conceptual art? Is
               the shapeless, structureless baked alaska that droops and slumps and
               collapses while you eat it, or don’t eat it, supposed to be a
               representation in sugar and eggs of the experience of going insane?

               Why did the toasted marshmallow taste like fish?

               Did you finish that blue drink?

               Oh, and we never got our Vegas fries; would you mind telling the
               kitchen that we don’t need them?

               Thanks.

       4.      Unauthorized Retrieval and Dissemination of Current News

       108.    Synthetic search applications built on the GPT LLMs, including Bing Chat and

Browse with Bing for ChatGPT, display extensive excerpts or paraphrases of the contents of search

results, including Times content, that may not have been included in the model’s training set. The

“grounding” technique employed by these products includes receiving a prompt from a user,

copying Times content relating to the prompt from the internet, providing the prompt together with

the copied Times content as additional context for the LLM, and having the LLM stitch together

paraphrases or quotes from the copied Times content to create natural-language substitutes that

serve the same informative purpose as the original. In some cases, Defendants’ models simply spit

out several paragraphs of The Times’s articles.

       109.    The contents of such synthetic responses often go far beyond the snippets typically

shown with ordinary search results. Even when synthetic search responses include links to source

materials, users have less need to navigate to those sources because their expressive content is

already quoted or paraphrased in the narrative result. Indeed, such indication of attribution may

make users more likely to trust the summary alone and not click through to verify.



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                                                               38 of39
                                                                     69of 70




        110.     In this way, synthetic search results divert important traffic away from copyright

holders like The Times. A user who has already read the latest news or found the right kind of

product, even—or especially—with attribution to The New York Times, has less reason to visit the

original source.

        111.     Below are a few illustrative and non-exhaustive examples of synthetic search

results from Bing Chat and ChatGPT’s Browse with Bing.

                 a)      Examples of Synthetic Search Results from Bing Chat

        112.     As shown below, Bing Chat creates unauthorized copies and derivatives of Times

Works in the form of synthetic search results generated from Times Works that first appeared after

the April 2023 cutoff for data used to train OpenAI’s latest GPT-4 Turbo LLM. 30 The first includes

a long quote from the October 2023 New York Times article “The Secrets Hamas knew about

Israel’s Military”:31




         30
            Michael Schade, GPT-4 Turbo, OPENAI, https://help.openai.com/en/articles/8555510-gpt-4-turbo (last
visited Dec. 21, 2023).
         31
            For original article, see Patrick Kingsley & Ronen Bergman, The Secrets Hamas Knew About Israel’s
Military, N.Y. TIMES (Oct. 13, 2023), https://www.nytimes.com/2023/10/13/world/middleeast/hamas-israel-attack-
gaza.html.
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                                                          PagePage
                                                               39 of40
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       113.    The above synthetic output from Bing Chat includes verbatim excerpts from the

original article. The copied article text is highlighted in red below.

               The 10 gunmen from Gaza knew exactly how to find the Israeli
               intelligence hub — and how to get inside.

               After crossing into Israel, they headed east on five motorcycles, two
               gunmen on each vehicle, shooting at passing civilian cars as they
               pressed forward.

               Ten miles later, they veered off the road into a stretch of woodland,
               dismounting outside an unmanned gate to a military base. They blew
               open the barrier with a small explosive charge, entered the base and
               paused to take a group selfie. Then they shot dead an unarmed Israeli
               soldier dressed in a T-shirt.

               For a moment, the attackers appeared uncertain about where to go
               next. Then one of them pulled something from his pocket: a color-
               coded map of the complex.

               Reoriented, they found an unlocked door to a fortified building.
               Once inside, they entered a room filled with computers — the
               military intelligence hub. Under a bed in the room, they found two
               soldiers taking shelter.

               The gunmen shot both dead.


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                                                          PagePage
                                                               40 of41
                                                                     69of 70




               This sequence was captured on a camera mounted on the head of a
               gunman who was later killed. The New York Times reviewed the
               footage, then verified the events by interviewing Israeli officials and
               checking Israeli military video of the attack as well.

               They provide chilling details of how Hamas, the militia that controls
               the Gaza Strip, managed to surprise and outmaneuver the most
               powerful military in the Middle East last Saturday — storming
               across the border, overrunning more than 30 square miles, taking
               more than 150 hostages and killing more than 1,300 people in the
               deadliest day for Israel in its 75-year history.

               With meticulous planning and extraordinary awareness of Israel’s
               secrets and weaknesses, Hamas and its allies overwhelmed the
               length of Israel’s front with Gaza shortly after dawn, shocking a
               nation that has long taken the superiority of its military as an article
               of faith.

               Using drones, Hamas destroyed key surveillance and
               communications towers along the border with Gaza, imposing vast
               blind spots on the Israeli military. With explosives and tractors,
               Hamas blew open gaps in the border barricades, allowing 200
               attackers to pour through in the first wave and another 1,800 later
               that day, officials say. On motorcycles and in pickup trucks, the
               assailants surged into Israel, overwhelming at least eight military
               bases and waging terrorist attacks against civilians in more than 15
               villages and cities.

       114.    The synthetic output displays significantly more expressive content from the

original article than what would traditionally be displayed in a Bing search result for the same

article, as shown below. Unlike a traditional search result, the synthetic output also does not include

a prominent hyperlink that sends users to The Times’s website.




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                                                                41 of42
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        115.     A further example shows Bing Chat extensively reproducing text from the

September 2023 New York Times article “To Experience Paris Up Close and Personal, Plunge Into

a Public Pool”:32




        116.     The above synthetic output from Bing Chat includes verbatim excerpts from the

original article. The copied article text is highlighted in red below.




        32
          For original article, see Catherine Porter, To Experience Paris Up Close and Personal, Plunge Into a
Public Pool, N.Y. TIMES (Sept. 3, 2023), https://www.nytimes.com/2023/09/03/world/europe/paris-france-
swimming-pools.html.
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                                                          PagePage
                                                               42 of43
                                                                     69of 70




               I slip into the water and push off quickly before the man swimming
               like a breast-stroking porpoise gets any closer. Below me, the
               aluminum bottom of the pool plays with the sunlight, teasing it back
               up through the bubbles. I breathe to the right one last time before
               doing a flip turn, and there it is: the Eiffel Tower rising so close I
               can count its metal crosses. The pool windows offer an
               unobstructed, third-story view.

               Swimming in Paris is a full-on cultural experience. Many public
               pools don’t just feel like historical monuments, they are historical
               monuments. Backstroking beneath the buttresses stretching across
               the vaulted ceiling of the 99-year-old Butte-aux-Cailles pool feels
               like backstroking through a cathedral.

               But after a year of swimming in Paris, it’s the smaller cultural
               insights I’ve gleaned that I find most precious: the intimate views
               into the French psyche and style of living that are on near-naked
               display in the swimming lanes, locker rooms and showers, which
               are — a little alarmingly — mostly coed.

               I have been a swimmer since I was a kid. I competed on my high
               school team and for a year in college. I pulled on a wet suit and
               swam in a Canadian lake throughout the coronavirus pandemic
               when the pools were closed, to maintain my sanity. It’s my form of
               exercise and stress release.

               So when I moved to Paris last August, I quickly developed a to-visit
               list of public pools across the city, many dating from the 1930s,
               during the height of the Art Deco architectural craze. They’re
               stunning.

       117.    The synthetic output displays significantly more expressive content from the

original article than what would traditionally be displayed in a Bing search result for the same

article, as shown below. Unlike a traditional search result, the synthetic output also does not include

a prominent hyperlink that sends users to The Times’s website.




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                                                               43 of44
                                                                     69of 70




                 b)      Synthetic Search Results from ChatGPT Browse with Bing

        118.     The below examples show that ChatGPT’s Browse with Bing plug-in also outputs

unauthorized copies and derivatives of copyrighted works from The Times in the form of synthetic

search results generated from Times Works that first appeared after the April 2023 cutoff for data

used to train OpenAI’s latest GPT-4 Turbo LLM. The first reproduces the first two paragraphs of

the May 2023 New York Times article “The Precarious, Terrifying Hours After a Woman Was

Shoved Into a Train”:33




        33
           For original content, see Hurubie Meko, The Precarious, Terrifying Hours After a Woman Was Shoved
Into a Train, N.Y. TIMES (May 25, 2023), https://www.nytimes.com/2023/05/25/nyregion/subway-attack-woman-
shoved-manhattan.html.
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                                                 12/27/23
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                                                            PagePage
                                                                 44 of45
                                                                       69of 70




         119.   The above synthetic output from ChatGPT with the Browse with Bing plugin

includes verbatim excerpts from the original article. The copied article text is highlighted in red

below.

                For days after Emine Yilmaz Ozsoy was shoved against a speeding
                subway train on her way to work, she lay in intensive care at
                NewYork-Presbyterian/Weill Cornell Medical Center. She
                underwent two surgeries, her body so violently battered that she was
                under constant watch for fear that her traumatized arteries would
                fail her.

                On Thursday, Ms. Ozsoy remained partially paralyzed, but was
                gathering strength, testing her remaining mobility and cognizant of
                everything that had happened to her since early Sunday morning
                when a man thrust her head into the train as it pulled out of the
                Lexington Avenue/63rd Street station.

                “At this moment, her journey is a very scary journey,” her husband,
                Ferdi Ozsoy, said in an interview.

         120.   The synthetic output displays significantly more expressive content from the

original article than what would traditionally be displayed in a Bing search result for the same

article as shown below. Unlike a traditional search result, the synthetic output also does not include

a prominent hyperlink that sends users to The Times’s website.




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                                                               45 of46
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        121.     This example likewise shows Browse with Bing for ChatGPT reproducing the first

two paragraphs of The New York Times article “Are the Hamptons Still Hip?” from May 2023.34




        34
          For original article, see Anna Kodé, Are the Hamptons Still Hip?, N.Y. TIMES (May 26, 2023),
https://www.nytimes.com/2023/05/26/realestate/hamptons-summer-housing-costs.html.
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                                                            PagePage
                                                                 46 of47
                                                                       69of 70




         122.   The above synthetic output from ChatGPT with the Browse with Bing plugin

includes verbatim excerpts from the original article. The copied article text is highlighted in red

below.

                For years, the Hamptons were a hot summer destination for young,
                up-and-coming New Yorkers and the old and new moneyed alike. It
                was a place to see and be seen. Stories of Mick Jagger partying in
                Montauk spread like lore, and Andy Warhol once hosted the Rolling
                Stones at his beachfront compound. It wasn’t uncommon for young
                college graduates in the city to save up and pool together to rent a
                summer house and get a taste of the glamour.

                In a 1999 interview with New York Magazine, Jay-Z put it simply:
                “I mean, the Hamptons is cool.”

                The Hamptons still have a mythological reputation, fueled by the
                celebrity cachet that comes with square footage, seclusion and ocean
                waves. “Kaia Gerber, Ina Garten and Diplo walk into a bar — that
                is to say, the Hamptons holds a certain, je ne sais quoi? Where else
                would these mega names be in the same sentence?” said Jacob
                Rutledge, a 22-year-old model and content creator.

                But the Hamptons are not what they once were. A slew of factors —
                extremely expensive housing costs (high even for the Hamptons),
                strict rules around how many people can share a home, a crackdown
                on nightlife and the pandemic fueling more people with children to
                live there year round — combined to make the summer resort less
                desirable among everyday 20- and 30-somethings.

                Despite his instinct to marvel at the Long Island refuge, Mr.
                Rutledge, who lives in Ridgewood, Queens, isn’t going out to the
                Hamptons this summer. Instead, he’ll be close by at Fire Island.

         123.   Again, the synthetic output displays significantly more expressive content from the

original article than what would traditionally be displayed in a Bing search result for the same

article, as shown below. Unlike a traditional search result, the synthetic output also does not include

a prominent hyperlink that sends users to The Times’s website.




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                                                          PagePage
                                                               47 of48
                                                                     69of 70




       5.      Willful Infringement

       124.    Defendants’ unauthorized reproduction and display of Times Works is willful.

Defendants were intimately involved in training, fine-tuning, and otherwise testing the GPT

models. Defendants knew or should have known that these actions involved unauthorized copying

of Times Works on a massive scale during training, resulted in the unauthorized encoding of huge

numbers of such works in the models themselves, and would inevitably result in the unauthorized

display of such works that the models had either memorized or would present to users in the form

of synthetic search results. In fact, in late 2023 before his ouster and subsequent reinstatement as

OpenAI’s CEO, Sam Altman reportedly clashed with OpenAI board member Helen Toner over a

paper that Toner wrote criticizing the company over “safety and ethics issues related to the

launches of ChatGPT and GPT-4, including regarding copyright issues.”

       125.    The Times specifically put Defendants on notice that these uses of Times Works

were not authorized by placing copyright notices and linking to its terms of service (which contain,

among other things, terms and conditions for the use of its works) on every page of its websites

whose contents Defendants copied and displayed. Upon information and belief, Defendants

intentionally removed such copyright management information (“CMI”) from Times Works in the

process of preparing them to be used to train their models with the knowledge that such CMI would



                                                47
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               48 of49
                                                                     69of 70




not be retained within the models or displayed when the models present unauthorized copies or

derivatives of Times Works to users, and thereby facilitate or conceal their infringement.

       126.    Upon information and belief, Defendants were aware of many examples of

copyright infringement after ChatGPT, Browse with Bing, and Bing Chat were released, some of

which were widely publicized. In fact, after the release of ChatGPT and Bing Chat, The Times

reached out to Defendants to inform them that their tools infringed its copyrighted works.

D.     Misappropriation of Commercial Referrals

       127.    In addition to their reproduction of Times news media, both Bing Chat and Browse

with Bing for ChatGPT also display extensive excerpts or paraphrases of Wirecutter content when

prompted. As shown below, the contents of these synthetic responses go beyond ordinary search

results, often fully reproducing Wirecutter’s recommendations for particular items and their

underlying rationale.

       128.    Wirecutter generates the vast majority of its revenue via affiliate referral.

Wirecutter’s journalists, acting with full editorial independence and integrity, spend tens of

thousands of hours each year researching and testing products to ensure that they recommend only

the best. Those recommendations, when presented to Wirecutter’s readers, include direct links to

merchants, who in turn often give Wirecutter a portion of the sale price upon completion of a

transaction. That is, when a user purchases a Wirecutter-recommended product through the link in

a Wirecutter article, Wirecutter generally earns a commission on the sale. Wirecutter does not

receive affiliate referral revenue if a user purchases the Wirecutter-recommended product through

a link on Defendants’ platforms. As with The Times’s other products, decreases in traffic to

Wirecutter also impact its advertising and subscription revenue.




                                                48
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               49 of50
                                                                     69of 70




        129.    Detailed synthetic search results that effectively reproduce Wirecutter

recommendations create less incentive for users to navigate to the original source. Decreased

traffic to Wirecutter articles, and in turn, decreased traffic to affiliate links, subsequently lead to a

loss of revenue for Wirecutter. A user who already knows Wirecutter’s recommendations for the

best cordless stick vacuum, and the basis for those recommendations, has little reason to visit the

original Wirecutter article and click on the links within its site. In this way, Defendants’ generative

AI products directly and unfairly compete with Times content and usurp commercial opportunities

from The Times.

        130.    For example, Browse with Bing was able to reproduce Wirecutter’s picks for the

best kitchen scale, accurately summarizing all four of Wirecutter’s recommendations and

explaining its picks through substantial verbatim copying from the Wirecutter article. When asked

to reproduce the article’s first sentence, Browse with Bing did so accurately:




                                                   49
      CaseCase
           3:23-cv-03223-AMO
               1:23-cv-11195 Document
                              Document198-6
                                        FiledFiled
                                              12/27/23
                                                   02/08/24
                                                         PagePage
                                                              50 of51
                                                                    69of 70




       131.   Bing Chat produced a similar response when asked about Wirecutter’s 2023 article

on the best cordless stick vacuum, correctly citing all three of the vacuums that Wirecutter

recommended and reproducing the article’s first paragraph with substantial direct copying:




                                               50
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               51 of52
                                                                     69of 70




       132.    As in the examples of copied news content above, these synthetic outputs display

significantly more expressive content from the original Wirecutter article than what would

traditionally be displayed in a search result for the same article. Unlike a traditional search result,

the synthetic output also does not include a prominent hyperlink that sends users to Wirecutter’s

website.

       133.    Users rely on Wirecutter for high-quality, well-researched recommendations, and

Wirecutter’s brand is damaged by incidents that erode consumer trust and fuel a perception that

Wirecutter’s recommendations are unreliable.

       134.    In response to a query regarding Wirecutter’s recommendations for the best office

chair, GPT-4 not only reproduced the top four Wirecutter recommendations, but it also

recommended the “La-Z-Boy Trafford Big & Tall Executive Chair” and the “Fully Balans

Chair”—neither of which appears in Wirecutter’s recommendations—and falsely attributed these

recommendations to Wirecutter:




                                                  51
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               52 of53
                                                                     69of 70




        135.     As discussed in more detail below, this “hallucination” endangers Wirecutter’s

reputation by falsely attributing a product recommendation to Wirecutter that it did not make and

did not confirm as being a sound product.

E.      “Hallucinations” Falsely Attributed to The Times

        136.     At the same time as Defendants’ models are copying, reproducing, and

paraphrasing Times content without consent or compensation, they are also causing The Times

commercial and competitive injury by misattributing content to The Times that it did not, in fact,

publish. In AI parlance, this is called a “hallucination.” In plain English, it’s misinformation.

        137.     ChatGPT defines a “hallucination” as “the phenomenon of a machine, such as a

chatbot, generating seemingly realistic sensory experiences that do not correspond to any real-

world input.”35 Instead of saying, “I don’t know,” Defendants’ GPT models will confidently

provide information that is, at best, not quite accurate and, at worst, demonstrably (but not

recognizably) false. And human reviewers find it very difficult to distinguish “hallucinations” from

truthful output.

        138.     For example, in response to a query requesting the sixth paragraph of a New York

Times article titled “Inside Amazon – Wrestling Big Ideas in a Bruising Workplace,” Bing Chat

confidently purported to reproduce the sixth paragraph. Had Bing Chat actually done so, it would


        35
           Hussam Alkaissi & Samy I McFarlan, Artificial Hallucinations in ChatGPT: Implications in Scientific
Writing, CUREUS (Feb. 19, 2023), ehttps://www.ncbi.nlm.nih.gov/pmc/articles/PMC9939079/.
                                                       52
        CaseCase
             3:23-cv-03223-AMO
                 1:23-cv-11195 Document
                                Document198-6
                                          FiledFiled
                                                12/27/23
                                                     02/08/24
                                                           PagePage
                                                                53 of54
                                                                      69of 70




have committed copyright infringement. But in this instance, Bing Chat completely fabricated a

paragraph, including specific quotes attributed to Steve Forbes’s daughter Moira Forbes, that

appear nowhere in The Times article in question or anywhere else on the internet.




        139.     In response to a query seeking what The New York Times said are “the 15 most

heart-healthy foods to eat” in a specific, linked New York Times article titled, “A Heart-Healthy

Way to Eat,” Bing Chat identified 15 heart-healthy foods “[a]ccording to the article you provided”

including “red wine (in moderation).” In fact, The Times article did not provide a list of heart-

healthy foods and did not even mention 12 of the 15 foods identified by Bing Chat (including red

wine).36




        36
          In fact, The Times’s latest reporting concludes that red wine is not heart-healthy. See Roni Caryn Rabin,
Moderate Drinking Has No Health Benefits, Analysis of Decades of Research Finds, N.Y. TIMES (Apr. 4, 2023),
https://www.nytimes.com/2023/04/04/health/alcohol-health-effects.html.
                                                        53
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               54 of55
                                                                     69of 70




       140.    In response to a prompt requesting an informative essay about major newspapers’

reporting that orange juice is linked to non-Hodgkin’s lymphoma, a GPT model completely

fabricated that “The New York Times published an article on January 10, 2020, titled ‘Study Finds

Possible Link between Orange Juice and Non-Hodgkin’s Lymphoma.’”              The Times never

published such an article.




                                               54
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               55 of56
                                                                     69of 70




        141.     In response to a query asking for New York Times articles about the Covid-19

Pandemic, ChatGPT’s API returned a response with fabricated article titles and hyperlinks that

purport to have been published by The Times. The Times never published articles with these titles,

and the hyperlinks do not point to a live website.

                 "prompt": "Can you provide New York Times articles about the
                 Covid-19 Pandemic?",

                 ...

                 "text": "\n\n1. "The U.S. Faces a Dark Winter as Covid-19 Cases
                 Soar"         https://www.nytimes.com/2020/11/19/us/covid-cases-
                 hospitalizations.html\n\n2. "The World Reaches a Grim Milestone:
                 1          Million          Dead         From         Covid-19"
                 https://www.nytimes.com/2020/09/28/world/coronavirus-death-
                 toll.html\n\n3. "Covid-19 Vaccines Are Coming. Here's What We
                 Know."
                 https://www.nytimes.com/interactive/2020/science/coronavirus-
                 vaccine-tracker.html\n\n4. "A Year of Pandemic Living in Photos"
                 https://www.nytimes.com/interactive/2020/03/11/world/covid-19-
                 coronavirus-photos.html\n\n5. "Covid-19 Shatters the Lives of
                 Young Adults" https://www.nytimes.com/2020/09/22/health/covid-
                 young-adults-mental-health.html"

        142.     These “hallucinations” mislead users as to the source of the information they are

obtaining, leading them to incorrectly believe that the information provided has been vetted and

published by The Times. Users who ask a search engine what The Times has written on a subject

should be provided with neither an unauthorized copy nor an inaccurate forgery of a Times article,

but a link to the article itself.

F.      Profit to Defendants

        143.     Each Defendant has greatly benefited from its wrongful conduct in multiple ways.

        144.     Each Defendant has reaped substantial savings by taking and using—at no cost—

New York Times content to create their LLMs. Times journalism is the work of thousands of

journalists, whose employment costs hundreds of millions of dollars per year. Each Defendant has

                                                55
        CaseCase
             3:23-cv-03223-AMO
                 1:23-cv-11195 Document
                                Document198-6
                                          FiledFiled
                                                12/27/23
                                                     02/08/24
                                                           PagePage
                                                                56 of57
                                                                      69of 70




wrongfully benefited from nearly a century of that work—some performed in harm’s way—that

remains protected by copyright law. Defendants have effectively avoided spending the billions of

dollars that The Times invested in creating that work by taking it without permission or

compensation.

        145.       Times Works form an exceptionally valuable body of data for training seemingly

knowledgeable and capable LLMs. Numerous metrics confirm that journalistic works in general

and Times Works in particular are more valuable than most other content on the internet that may

have also been used to train and ground responses from the GPT models.

        146.       Google PageRank, for example, measures the relative importance of webpages

based on the number of links pointing to them (“referrals”). According to one PageRank list, The

Times has the 42nd highest PageRank value out of all websites as of December 21, 2023, and most

domains ranking higher than The Times are social media sites and other sites containing content

that would not be helpful for training a GenAI model because it has not been fact-checked and

carefully edited for tone and style.37 As of December 21, 2023, the only text-based content sites

ranking above The Times are Wikipedia, Wordpress, and Medium.38

        147.       The value of Times content is further underscored by a Google search ranking

patent that explicitly refers to The Times as a “seed page” having high-quality pages. The New

York Times website is the only seed page explicitly named other than the Google Directory.39

        148.       Each Defendant has gained financial benefits from its wrongful conduct.




        37
             Top 10 Million Websites, DOMCOP, https://www.domcop.com/top-10-million-websites (last visited Dec.
21, 2023).
        38
             Id.
        39
             U.S. Patent No. 9,165,040 (filed Oct. 20, 2015).
                                                          56
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               57 of58
                                                                     69of 70




        149.     In April 2023, ChatGPT had approximately 173 million users.40 A subset of those

users pay for ChatGPT Plus, for which OpenAI charges users $20 per month.41 When announcing

the release of ChatGPT Enterprise, a subscription-based high-capability GPT-4 application

targeted at corporate clients, in August 2023, OpenAI claimed that teams in “over 80% of Fortune

500 companies” were using its products.42

        150.     As of August 2023, OpenAI was on pace to generate more than $1 billion in revenue

over the next twelve months, or $80 million in revenue per month.43

        151.     The value of Microsoft’s investments in OpenAI have substantially increased over

time. Microsoft initially invested $1 billion in OpenAI in 2019, an investment that one publication

has said may be “one of the shrewdest bets in tech history.”44 In 2021, OpenAI was valued at $14

billion; just two years later, in early 2023, it was valued at approximately $29 billion.45 Microsoft

eventually increased its investment in OpenAI to a reported $13 billion. It was reported in

November 2023 that a planned sale of employee shares would be expected to place OpenAI’s

valuation at nearly $90 billion.46




        40
             Nerdynav, 107 Up-to-Date ChatGPT Statistics & User Numbers [Dec 2023], NERDYNAV,
https://nerdynav.com/chatgpt-statistics/ (last updated Dec. 6, 2023).
          41
             OpenAI, Introducing ChatGPT Plus, OPENAI (Feb. 1, 2023), https://openai.com/blog/chatgpt-plus.
          42
             Introducing ChatGPT Enterprise, supra note 5.
          43
             Amir Efrati & Aaron Holmes, OpenAI Passes $1 Billion Revenue Pace as Big Companies Boost AI
Spending, THE INFORMATION (Aug. 29, 2023), https://www.theinformation.com/articles/openai-passes-1-billion-
revenue-pace-as-big-companies-boost-ai-spending.
          44
             Hasan Chowdhury, Microsoft's Investment into ChatGPT's Creator May Be the Smartest $1 Billion Ever
Spent, BUSINESS INSIDER (Jan. 6, 2023), https://www.businessinsider.com/microsoft-openai-investment-the-
smartest-1-billion-ever-spent-2023-1.
          45
             Phil Rosen, ChatGPT's Creator OpenAI Has Doubled in Value Since 2021 as the Language Bot Goes
Viral and Microsoft Pours in $10 Billion, BUSINESS INSIDER (Jan. 24, 2023),
https://markets.businessinsider.com/news/stocks/chatgpt-openai-valuation-bot-microsoft-language-google-tech-
stock-funding-2023-
1#:~:text=In%202021%2C%20the%20tech%20firm,%2410%20billion%20investment%20in%20OpenAI.
          46
             Aditya Soni, Microsoft Emerges as Big Winner from OpenAI Turmoil, REUTERS (Nov. 20, 2023),
https://www.reuters.com/technology/microsoft-emerges-big-winner-openai-turmoil-with-altman-board-2023-11-20/.
                                                      57
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               58 of59
                                                                     69of 70




        152.     In addition, the integration of GPT-4 into Microsoft’s Bing search engine increased

the search engine’s usage and advertising revenues associated with it. Just a few weeks after Bing

Chat was launched, Bing reached 100 million daily users for the first time in its 14-year history.47

Similarly, page visits on Bing rose 15.8% in the first approximately six weeks after Bing Chat was

unveiled.48

        153.     Microsoft has also started to integrate ChatGPT into its 365 Office products, for

which it charges users a premium. Microsoft Teams is charging an add-on license for the inclusion

of AI features powered by GPT-3.5.49 Microsoft is also charging $30 per user per month for

Microsoft 365 Copilot, a tool powered by GPT-4 that is designed to assist with the creation of

documents, emails, presentations, and more.50 That $30 per user per month premium will nearly

double the cost for businesses subscribed to Microsoft 365 E3, and will nearly triple the cost for

those subscribed to Microsoft 365 Business Standard.51

G.      Harm to The Times

        154.     Defendants’ unlawful conduct has also caused, and will continue to cause,

substantial harm to The Times. The Times invests enormous resources in creating its content to

inform its readers, who in turn purchase subscriptions or engage with The Times’s websites and




         47
            Tom Warren, Microsoft Bing Hits 100 Million Active Users in Bid to Grab Share from Google, THE
VERGE (Mar. 9, 2023), https://www.theverge.com/2023/3/9/23631912/microsoft-bing-100-million-daily-active-
users-milestone.
         48
            Akash Sriram and Chavi Mehta, OpenAI Tech Gives Microsoft's Bing a Boost in Search Battle with
Google, REUTERS (Mar. 22, 2023), https://www.reuters.com/technology/openai-tech-gives-microsofts-bing-boost-
search-battle-with-google-2023-03-22/.
         49
            Tom Warren, Microsoft Launches Teams Premium with Features Powered by OpenAI, THE VERGE (Feb.
2, 2023), https://www.theverge.com/2023/2/2/23582610/microsoft-teams-premium-openai-gpt-features.
         50
            Tom Warren, Microsoft Announces Copilot: The AI-Powered Future of Office Documents, THE VERGE
(Mar. 16, 2023), https://www.theverge.com/2023/3/16/23642833/microsoft-365-ai-copilot-word-outlook-teams; Tom
Warren, Microsoft Puts a Steep Price on Copilot, Its AI-Powered Future of Office Documents, THE VERGE (July 18,
2023), https://www.theverge.com/2023/7/18/23798627/microsoft-365-copilot-price-commercial-enterprise.
         51
            Microsoft Announces Copilot: The AI-Powered Future of Office Documents, supra note 49.
                                                      58
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               59 of60
                                                                     69of 70




mobile applications in other ways that generate revenue. Defendants have no permission to copy,

reproduce, and display Times content for free.

       155.    A well-established market exists for The Times to provide paid access to and use of

its works both by individual and institutional users. Unauthorized copying of Times Works without

payment to train LLMs is a substitutive use that is not justified by any transformative purpose.

       156.    As discussed above, The Times strictly limits the content it makes accessible for

free and prohibits the use of its material (whether free or paid for) for commercial uses absent a

specific authorization. Not only has it implemented a paywall, but it requires a license for entities

that wish to use its content for commercial purposes. These licenses, which place strict

requirements on what content is being licensed and for what purposes it may be used, generate

millions of dollars in revenue for The Times per year. Here, by contrast, Defendants have used

almost a century’s worth of copyrighted content, for which they have not paid The Times fair

compensation. This lost market value of The Times’s copyrighted content represents a significant

harm to The Times caused by Defendants.

       157.    If individuals can access The Times’s highly valuable content through Defendants’

own products without having to pay for it and without having to navigate through The Times’s

paywall, many will likely do so. Defendants’ unlawful conduct threatens to divert readers,

including current and potential subscribers, away from The Times, thereby reducing the

subscription, advertising, licensing, and affiliate revenues that fund The Times’s ability to continue

producing its current level of groundbreaking journalism.




                                                 59
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               60 of61
                                                                     69of 70




                     COUNT I: Copyright Infringement (17 U.S.C. § 501)

                                     Against All Defendants

       158.    The Times incorporates by reference and realleges the preceding allegations as

though fully set forth herein.

       159.    As the owner of the registered copyrights in the literary works copied to produce

Defendants’ GPT models and, in many cases, distributed by and embedded within Defendants’

GPT models, The Times holds the exclusive rights to those works under 17 U.S.C. § 106.

       160.     By building training datasets containing millions of copies of Times Works,

including by scraping copyrighted Times Works from The Times’s websites and reproducing such

works from third-party datasets, the OpenAI Defendants have directly infringed The Times’s

exclusive rights in its copyrighted works.

       161.    By storing, processing, and reproducing the training datasets containing millions of

copies of Times Works to train the GPT models on Microsoft’s supercomputing platform,

Microsoft and the OpenAI Defendants have jointly directly infringed The Times’s exclusive rights

in its copyrighted works.

       162.    On information and belief, by storing, processing, and reproducing the GPT models

trained on Times Works, which GPT models themselves have memorized, on Microsoft’s

supercomputing platform, Microsoft and the OpenAI Defendants have jointly directly infringed

The Times’s exclusive rights in its copyrighted works.

       163.    By disseminating generative output containing copies and derivatives of Times

Works through the ChatGPT offerings, the OpenAI Defendants have directly infringed The

Times’s exclusive rights in its copyrighted works.




                                                60
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               61 of62
                                                                     69of 70




       164.    By disseminating generative output containing copies and derivatives of Times

Works through the Bing Chat offerings, Microsoft has directly infringed The Times’s exclusive

rights in its copyrighted works.

       165.    On information and belief, Defendants’ infringing conduct alleged herein was and

continues to be willful and carried out with full knowledge of The Times’s rights in the copyrighted

works. As a direct result of their conduct, Defendants have wrongfully profited from copyrighted

works that they do not own.

       166.    By and through the actions alleged above, Defendants have infringed and will

continue to infringe The Times’s copyrights.

       167.    As a direct and proximate result of Defendants’ infringing conduct alleged herein,

The Times has sustained and will continue to sustain substantial, immediate, and irreparable injury

for which there is no adequate remedy at law. Unless Defendants’ infringing conduct is enjoined

by this Court, Defendants have demonstrated an intent to continue to infringe the copyrighted

works. The Times therefore is entitled to permanent injunctive relief restraining and enjoining

Defendants’ ongoing infringing conduct.

       168.    The Times is further entitled to recover statutory damages, actual damages,

restitution of profits, attorneys’ fees, and other remedies provided by law.

                         COUNT II: Vicarious Copyright Infringement

     Against Microsoft, OpenAI Inc., OpenAI GP, OpenAI LP, OAI Corporation LLC,
                    OpenAI Holdings LLC, and OpenAI Global LLC

       169.    The Times incorporates by reference and realleges the preceding allegations as

though fully set forth herein.

       170.    Microsoft controlled, directed, and profited from the infringement perpetrated by

the OpenAI Defendants. Microsoft controls and directs the supercomputing platform used to store,

                                                 61
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               62 of63
                                                                     69of 70




process, and reproduce the training datasets containing millions of Times Works, the GPT models,

and OpenAI’s ChatGPT offerings. Microsoft profited from the infringement perpetrated by the

OpenAI defendants by incorporating the infringing GPT models trained on Times Works into its

own product offerings, including Bing Chat.

       171.    Defendants OpenAI Inc., OpenAI GP, OAI Corporation LLC, OpenAI Holdings

LLC, and Microsoft controlled, directed, and profited from the infringement perpetrated by

Defendants OpenAI LP, OpenAI Global LLC, OpenAI OpCo LLC, and OpenAI, LLC, including

the reproduction and distribution of Times Works.

       172.    Defendants OpenAI Global LLC and OpenAI LP directed, controlled, and profited

from the infringement perpetrated by Defendants OpenAI OpCo LLC and OpenAI, LLC, including

the reproduction and distribution of Times Works.

       173.    Defendants OpenAI Inc., OpenAI LP, OAI Corporation LLC, OpenAI Holdings

LLC, OpenAI Global LLC, and Microsoft are vicariously liable for copyright infringement.

                      COUNT III: Contributory Copyright Infringement

                                         Against Microsoft

       174.    The Times incorporates by reference and realleges the preceding allegations as

though fully set forth herein.

       175.    Microsoft materially contributed to and directly assisted in the direct infringement

attributable to the OpenAI Defendants.

       176.    Microsoft provided the supercomputing infrastructure and directly assisted the

OpenAI Defendants in: (i) building training datasets containing millions of copies of Times Works;

(ii) storing, processing, and reproducing the training datasets containing millions of copies of

Times Works used to train the GPT models; (iii) providing the computing resources to host,


                                                62
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               63 of64
                                                                     69of 70




operate, and commercialize the GPT models and GenAI products; and (iv) providing the Browse

with Bing plug-in to facilitate infringement and generate infringing output.

       177.    Microsoft knew or had reason to know of the direct infringement perpetrated by the

OpenAI Defendants because Microsoft and OpenAI’s partnership extends to the development,

commercialization, and monetization of the OpenAI Defendants’ GPT-based products. Microsoft

was fully aware of the capabilities of OpenAI’s GPT-based products.

                      COUNT IV: Contributory Copyright Infringement

                                     Against All Defendants

       178.    The Times incorporates by reference and realleges the preceding allegations as

though fully set forth herein.

       179.    In the alternative, to the extent an end-user may be liable as a direct infringer based

on output of the GPT-based products, Defendants materially contributed to and directly assisted

with the direct infringement perpetrated by end-users of the GPT-based products by way of: (i)

jointly-developing LLM models capable of distributing unlicensed copies of Times Works to end-

users; (ii) building and training the GPT LLMs using Times Works; and (iii) deciding what content

is actually outputted by the GenAI products, such as grounding output in Times Works through

retrieval augmented generation, fine-tuning the models for desired outcomes, and/or selecting and

weighting the parameters of the GPT LLMs.

       180.    Defendants knew or had reason to know of the direct infringement by end-users

because Defendants undertake extensive efforts in developing, testing, and troubleshooting their

LLM models and GPT-based products. Defendants are fully aware that their GPT-based products

are capable of distributing unlicensed copies or derivatives of copyrighted Times Works.




                                                 63
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               64 of65
                                                                     69of 70




    COUNT V: Digital Millennium Copyright Act – Removal of Copyright Management
                            Information (17 U.S.C. § 1202)

                                     Against All Defendants

       181.    The Times incorporates by reference and realleges the preceding allegations as

though fully set forth herein.

       182.    The Times included one or more forms of copyright-management information in

each of The Times’s infringed works, including: copyright notice, title and other identifying

information, terms and conditions of use, and identifying numbers or symbols referring to the

copyright-management information.

       183.    Without The Times’s authority, Defendants copied The Times’s works and used

them as training data for their GenAI models.

       184.    Upon information and belief, Defendants removed The Times’s copyright-

management information in building the training datasets containing millions of copies of Times

Works, including removing The Times’s copyright-management information from Times Works

scraped directly from The Times’s websites and removing The Times’s copyright-management

information from Times Works reproduced from third-party datasets.

       185.    Upon information and belief, Microsoft and OpenAI        removed The Times’s

copyright-management information through generating synthetic search results, including

removing The Times’s copyright-management information when scraping Times Works from The

Times’s websites and generating copies or derivatives of Times Works as output for the Browse

with Bing and Bing Chat offerings.

       186.    Microsoft and OpenAI removed The Times’s copyright-management information

in generating outputs from the GPT models containing copies or derivatives of Times Works.



                                                64
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               65 of66
                                                                     69of 70




       187.    By design, the training process does not preserve any copyright-management

information, and the outputs of Defendants’ GPT models removed any copyright notices, titles,

and identifying information, despite the fact that those outputs were often verbatim reproductions

of Times content. Therefore, Defendants intentionally removed copyright-management

information from The Times’s works in violation of 17 U.S.C. § 1202(b)(1).

       188.    Defendants’ removal or alteration of The Times's copyright-management

information has been done knowingly and with the intent to induce, enable, facilitate, or conceal

infringement of The Times’s copyrights.

       189.    Without The Times’s authority, Defendants created copies and derivative works

based on The Times’s works. By distributing these works without their copyright-management

information, Defendants violated 17 U.S.C. § 1202(b)(3).

       190.    Defendants knew or had reasonable grounds to know that their removal of

copyright-management information would facilitate copyright infringement by concealing the fact

that the GPT models are infringing copyrighted works and that output from the GPT models are

infringing copies and derivative works.

       191.    The Times has been injured by Defendants’ removal of copyright-management

information. The Times is entitled to statutory damages, actual damages, restitution of profits, and

other remedies provided by law, including full costs and attorneys’ fees.

            COUNT VI: Common Law Unfair Competition By Misappropriation

                                     Against All Defendants

       192.    The Times incorporates by reference and realleges the preceding allegations as

though fully set forth herein.




                                                65
       CaseCase
            3:23-cv-03223-AMO
                1:23-cv-11195 Document
                               Document198-6
                                         FiledFiled
                                               12/27/23
                                                    02/08/24
                                                          PagePage
                                                               66 of67
                                                                     69of 70




        193.    The Times gathers information, which often takes the form of time-sensitive

breaking news, for its content at a substantial cost to The Times. Wirecutter likewise compiles and

produces time-sensitive recommendations for readers.

        194.    By offering content that is created by GenAI but is the same or similar to content

published by The Times, Defendants’ GPT models directly compete with Times content.

Defendants’ use of Times content encoded within models and live Times content processed by

models produces outputs that usurp specific commercial opportunities of The Times, such as the

revenue generated by Wirecutter recommendations. For example, Defendants have not only copied

Times content, but also altered the content by removing links to the products, thereby depriving

The Times of the opportunity to receive referral revenue and appropriating that opportunity for

Defendants.

        195.    Defendants’ use of Times content to train models that produce informative text of

the same general type and kind that The Times produces competes with Times content for traffic.

        196.    Defendants’ use of Times content without The Times’s consent to train Defendants’

GenAI models constitutes free-riding on The Times’s significant efforts and investment of human

capital to gather this information.

        197.    Defendants’ misuse and misappropriation of Times content has caused The Times

to suffer actual damages from the deprivation of the benefits of its work, such as, without

limitation, lost advertising and affiliate referral revenue.

                    COUNT VII: Trademark Dilution (15 U.S.C. § 1125(c))

                                       Against All Defendants

        198.    The Times incorporates by reference and realleges the preceding allegations as

though fully set forth herein.


                                                  66
      CaseCase
           3:23-cv-03223-AMO
               1:23-cv-11195 Document
                              Document198-6
                                        FiledFiled
                                              12/27/23
                                                   02/08/24
                                                         PagePage
                                                              67 of68
                                                                    69of 70




       199.      The Times is the owner of several federally registered trademarks, including U.S.

Registration No. 5,912,366 for the trademark “The New York Times,” as well as the marks

“nytimes” (U.S. Reg. No. 3,934,613), and “nytimes.com” (U.S. Reg. No. 3,934,612).

       200.      The Times’s trademarks are distinctive and famous.

       201.      Defendants have, in connection with the commerce of producing GenAI to users

for profit throughout the United States, including in New York, engaged in the unauthorized use

of The Times’s trademarks in outputs generated by Defendants’ GPT-based products.

       202.      Defendants’ unauthorized use of The Times’s marks on lower quality and inaccurate

writing dilutes the quality of The Times’s trademarks by tarnishment in violation of 15 U.S.C §

1125(c).

       203.      Defendants are aware that their GPT-based products produce inaccurate content that

is falsely attributed to The Times and yet continue to profit commercially from creating and

attributing inaccurate content to The Times. As such, Defendants have intentionally violated 15

U.S.C § 1125(c).

       204.      As an actual and proximate result of the unauthorized use of The Times’s

trademarks, The Times has suffered and continues to suffer harm by, among other things, damaging

its reputation for accuracy, originality, and quality, which has and will continue to cause it

economic loss.

                                     PRAYER FOR RELIEF

       WHEREFORE, The Times demands judgment against each Defendant as follows:

       1.        Awarding The Times statutory damages, compensatory damages, restitution,

disgorgement, and any other relief that may be permitted by law or equity;




                                                 67
      CaseCase
           3:23-cv-03223-AMO
               1:23-cv-11195 Document
                              Document198-6
                                        FiledFiled
                                              12/27/23
                                                   02/08/24
                                                         PagePage
                                                              68 of69
                                                                    69of 70




       2.     Permanently enjoining Defendants from the unlawful, unfair, and infringing

conduct alleged herein;

       3.     Ordering destruction under 17 U.S.C. § 503(b) of all GPT or other LLM models

and training sets that incorporate Times Works;

       4.     An award of costs, expenses, and attorneys’ fees as permitted by law; and

       5.     Such other or further relief as the Court may deem appropriate, just, and equitable.

                                DEMAND FOR JURY TRIAL

       The Times hereby demands a jury trial for all claims so triable.


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                                                  68
CaseCase
     3:23-cv-03223-AMO
         1:23-cv-11195 Document
                        Document198-6
                                  FiledFiled
                                        12/27/23
                                             02/08/24
                                                   PagePage
                                                        69 of70
                                                              69of 70




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                                 69
